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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                           BUTTE DIVISION

UNITED STATES OF AMERICA ex                CV 15-80-BU-SEH
rel. REMBERT and PARADISE,
                                           Honorable Sam E. Haddon
           Relators,
     vs.                                   DEFENDANTS’ RESPONSE TO
                                           RELATORS’ STATEMENT OF
                                           DISPUTED FACTS (DOC. 430)
BOZEMAN HEALTH DEACONESS
HOSPITAL, et al.,
           Defendants.
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      Pursuant to Federal Rule of Civil Procedure 56, Defendants Bozeman

Deaconess Health Services and Bozeman Health Deaconess Hospital (collectively,

“BDH”) and Deaconess-Intercity Radiology, LLC, d/b/a Advanced Medical

Imaging (“AMI”) submit the following Response to Relators’ Statement of

Disputed Facts (Doc. 430, “SDF”) regarding Defendants’ Motion for Summary

Judgment Re: The Elements of Relators’ Claims (Doc. 360).

           RESPONSE TO STATEMENT OF DISPUTED FACTS

I.    Background

A.    The Parties

      1.    BDH is a non-profit, tax-exempt, community hospital and health

system located in Bozeman that offers inpatient and outpatient health care services

to individuals residing in southwest Montana, among other places. (Ex. 28,

Affidavit of Elizabeth Lewis (“Lewis Aff.”) ¶ 2). Undisputed.

      2.    BDH is the sole provider of inpatient hospital care in Gallatin County.

(Ex. 28, Lewis Aff. ¶ 2). Undisputed.

      3.    Intercity Radiology, P.C. (“ICR”), a non-party in this litigation, is a

professional corporation with radiologist members who provide radiology services

in Bozeman, including to patients at BDH. (Doc. 105 ¶ 3). Undisputed.

      4.    ICR has been registered as a professional corporation in Montana

since 1970. (See Ex. 1 (Montana Secretary of State, Montana Secretary of State,


                               Defendants’ Response to Relators’ Statement of Disputed Facts - 1
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www.mtsosfilings.gov, Business Identifier No. D035171 (ICR is professional

corporation in active good standing, formed on March 31, 1970) (last accessed

June 21, 2018))). Undisputed.

      5.     ICR believes that it has served the Bozeman community since 1959.

(Ex. 2, ICR 30(b)(6) (Spear) Dep. Tr. 47:13-15; 48:7-13). Undisputed.

      6.     Intercity Investment Group, LLC (“ICIG”) is a limited liability

company formed in November 2004 by some of the radiologists affiliated with

ICR for the purposes of investing in AMI. (Ex. 3 [Dep. Ex. 63] at pp. 1- 2 ¶¶ 1.1,

1.3; Doc. 105 at p. 7 ¶15; see Ex. 4 (Montana Secretary of State,

www.mtsosfilings.gov, Business Identifier No. C137964 (ICIG is a limited liability

company in active good standing, formed on November 11, 2004) (last accessed

June 21, 2018))). Undisputed.

      7.     ICIG, a limited liability company, and ICR, a professional

corporation, are distinct and separate entities under Montana law. (See id.; Doc.

314-1 at p.1). Disputed. Doc. 314-1 at p.1, 2; Doc. 362-2 (Rex Spear ICR 30(b)(6)

Dep. Tr.) 42:24-43:14; 45:2-8.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).


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Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      8.     AMI is a limited liability company, created by a joint venture between

BDH and ICIG that generally provides certain imaging services to outpatients at a

facility located on the Bozeman Deaconess Hospital campus. (Doc. 105 at p. 7 ¶

15; Doc. 293-4, Rembert Dep. Tr. 47:21-48:19, 49:21-23). Disputed. Doc. 314-1 at

p.1, 2; Doc. 362-2 (Rex Spear ICR 30(b)(6) Dep. Tr.) 42:24-43:14; 45:2-8.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      9.     AMI’s services include magnetic resonance imaging (“MRI”),

computerized tomography (“CT”), mammography and bone density scanning




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(“DEXA”), along with related women’s digital imaging services. (Ex. 5, BDH

30(b)(6) Dep. Tr. 250:10-253:1). Undisputed.

        10.   At all times since AMI began operations in September 2005, ICR has

provided the professional radiology services at AMI and BDH. (Doc. 293-4,

Rembert Dep. Tr. 87:13-15; Ex. 5, BDH 30(b)(6) Dep. Tr. 57:24-58:4; see Doc.

105-15). Undisputed.

        11.

                     (Ex. 6, Spear Dep. Tr. 192:1-7; see Doc. 105-12). Disputed.

Doc. 314-1 (DE 41), p. 14-18, ¶ 8; Doc. 362-22 (AMI 30(b)(6) Dep. Tr.) 64:10-

68:18

        RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence is not probative or is otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1),

(e); see also T.W. Elec. Serv., 809 F.2d at 630.

        12.   The qui tam relators in this case are Frank M. Rembert and Michael

R. Paradise. (Doc. 105 at p. 6 ¶¶ 10-11). Undisputed.




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      13.     Relator Rembert joined ICR in September 2001 and became a

shareholder of ICR in or about September or October 2002. (Doc. 293-4, Rembert

Dep. Tr. 22:17-19). Undisputed.

      14.     Relator Paradise joined ICR in June 2007 and became a shareholder

of ICR in about June 2008. (Doc. 353-27, Paradise Dep. Tr. 35:12-14).

Undisputed.

B.    Litigation History Between the Parties

      15.     ICR fired Paradise on January 28, 2011. (Doc. 353-27, Paradise Dep.

Tr. 36:23-25). Undisputed.

      16.     ICR fired Rembert on February 1, 2011. (Doc. 293-4, Rembert Dep.

Tr. 13:10-12; 27:21-28:6). Undisputed.

      17.     Rembert and Paradise both sued ICR and BDH in separate actions in

state court after their termination from ICR. (Doc. 353-1, Complaint, Paradise et

al v. Intercity Radiology, P.C. et al., Cause No. DV- 11-198C (Gallatin Cty. Dist.

Ct.); Doc. 353-29 (Second Amended Complaint, Paradise et al v. Intercity

Radiology, P.C. et al., Cause No. DV- 11-198C (Gallatin Cty. Dist. Ct.); Doc. 353-

33 (Complaint, Rembert et al. v. Bozeman Deaconess Health Services, Cause No.

DV-13-57CX (Gallatin Cty. Dist. Ct.)). Undisputed.

                 a. Relators’ Lawsuit Against ICR in State Court




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      18.    In their complaint against ICR, Rembert and Paradise alleged that

they were deprived of their ownership interests in ICIG and Advanced Medical

Management, LLC, (“AMM”), and therefore suffered damages. (E.g., Doc. 353-29

¶¶ 18, 19, 42, 45, 46, 49). Undisputed.

      19.    The value of Rembert and Paradise’s interest in ICIG, and the value of

future distributions from ICIG, depended upon the profitability and legality of the

AMI joint venture. (Doc. 293-4, Rembert Dep. Tr. 88:20-89:1, 89:5-94:4; Doc.

353-27, Paradise Dep. Tr. 150:12-151:6, 153:15-19). Disputed: See generally Doc.

105; Doc. 357-27 (Dep. Ex. 1); Doc. 293-4, (Rembert Dep. Tr.), pp. 88:20-89:1,

89:5-94:4; Doc. 353-27 (M. Paradise Dep. Tr.), pp. 150:12-151:6, 153:15-19.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).


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      20.     Relators settled the first state-court lawsuit against ICR in April 2014,

and, as part of that settlement, Relators collectively received more than $1 million

dollars for their ownership interests in ICIG. (Doc. 353-32 at pp. 3, 19).

Undisputed.

      21.     Rembert received a $502,628 buy-out of his interest in ICIG, plus

$251,314 for AMM, and $99,807 for ICR, for a total of $817,725. (Doc. 293-4,

Rembert Dep. Tr. 97:2-98:12; Doc. 353-32 at p. 19). Undisputed.

      22.     Paradise received a $502,824 buy-out of his interest in ICIG, plus

$251,412 for AMM and $63,489 for ICR, for a total of $853,749. (Doc. 353-32 at

p. 3). Undisputed.

      23.     Together, Relators collected over $1.6 million in the ICR settlement

for their interests in ICR, ICIG, and AMM. (Doc. 353-32 at pp. 3, 19). Undisputed.

      24.     Rembert and Paradise never disclosed to the state court or ICR that

they thought AMI was engaged in any illegal activity. (Doc. 293-4, Rembert Dep.

Tr. 94:2-95:1; Doc. 353-27, Paradise Dep. Tr. 158:22-25, 159:17-160:4).

Undisputed.

                 b. Relators Lawsuit Against BDH in State Court

      25.     While their lawsuit against ICR was ongoing, Rembert and Paradise

filed suit against BDH on January 25, 2013. (See Doc. 353-33). Undisputed.




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         26.   They again alleged that they were deprived of their ownership

interests in ICIG and AMM, and therefore suffered damages. (E.g., Doc. 353-33,

¶¶ 37, 47, 50). Undisputed.

         27.   Rembert and Paradise never disclosed to the state court that they

thought AMI was engaged in any illegal activity. (Doc. 293-4, Rembert Dep. Tr.

94:2-95:1; Doc. 353-27, Paradise Dep. Tr. 158:22-25, 159:17- 160:4). Disputed.

Ex. 1.

         RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(1)(B) (failure to provide pinpoint cites).

         28.   Both Relators purchased ownership interests in ICIG. (Doc. 293-4,

Rembert Dep. Tr. 86:16-87:9; Doc. 353-27, Paradise Dep. Tr. 144:15-25).

Undisputed.

         29.   Both Relators received distributions from AMI through their

ownership interests in ICIG. (Doc. 293-4, Rembert Dep. Tr. 88:20-89:4, 89:2-4,

89:5-94:4; Doc. 353-27, Paradise Dep. Tr. 144:15-25). Undisputed.




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      30.    Both Relators continued to own their ownership interests in ICIG until

at least April 1, 2014, when they settled the state-court litigation against ICR.

(Doc. 59-2 at pp. 3, 19). Disputed. Doc. 353-29, ¶¶ 18, 19, 42, 45, 46, 49.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630

      31.    Rembert invested in ICIG and understood that ICIG would provide

the money he invested as its capital contribution to the AMI joint venture. (Doc.

293-4, Rembert Dep. Tr. 86:18-21). Undisputed.

      32.    Rembert understood that he would profit from AMI in the form of

distributions from ICIG. (Doc. 293-4, Rembert Dep. Tr. 88:20-89:1). Undisputed.

      33.    Paradise was an owner of ICIG, and understood that ICIG owned an

interest in AMI, that AMI distributed money to ICIG’s owners, and that the money

he received as an owner of ICIG was derived from the operations of AMI. (Doc.

353-27, Paradise Dep. Tr. 150:12-151:6). Undisputed.


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                c. Relators Change Their Mind and Decide that AMI Is Illegal

      34.    In December 2015—more than a decade after the formation of AMI,

after selling their ownership interest in ICIG, and while embroiled in unsuccessful

litigation against BDH in state court—Relators filed this lawsuit alleging that AMI

was an unlawful kickback scheme. (See generally Doc. 1; Doc. 293-4, Rembert

Dep. Tr. 100:7-11). Disputed. Doc. 353-34, p. 2.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      35.    In their interrogatory responses in this lawsuit, Relators claimed that

AMI is illegal because its operations violated the federal Anti-Kickback Statute

(“AKS”). (E.g., Doc. 353-19 at pp. 2-9, 13-18, 24-31); (Doc. 353-20 at pp. 2-9, 13-

18, 24-31). Undisputed.

      36.    In response to Interrogatory No. 22 from BDH, Rembert represented

that he “came to believe the formation and operation of AMI violated the AKS in


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late 2015 after he re-reviewed various documents related to the formation of AMI.”

(Doc. 353-21 at p. 69). Undisputed

      37.     In response to Interrogatory No. 20 from BDH, Paradise represented

that he “became aware of the circumstances surrounding the formation of AMI in

2015 and by late 2015 came to believe that the formation of AMI violated the

AKS.” (Doc. 353-22 at pp. 66-67). Undisputed.

      38.     Sometime between April 1 of 2014 and December of 2015, Rembert

changed his mind about whether the formation and operation of AMI violated the

law. (Doc. 293-4, Rembert Dep. Tr. 100:7-11). Undisputed.

      39.     The information that Rembert relied upon in changing his mind was

“all information that [he] had all along.” (Doc. 293-4, Rembert Dep. Tr. 107:8-17).

Undisputed.

      40.     The only change in Rembert’s position relating to AMI’s legality was

that he came to view information he had before and during AMI’s existence

differently. (Doc. 293-4, Rembert Dep. Tr. 107:22-24). Undisputed.

      41.     Rembert refused to explain fully what caused his change of mind on

grounds of privilege. (Doc. 293-4, Rembert Dep. Tr. 100:20-102:5). Disputed.

Doc. 293-4 (Rembert Dep. Tr.), p. 100:20-103:8.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors


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Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

      42.     Rembert testified that his change of mind was not based on any

material new information: his memory was “refreshed” by a letter dated May 4,

2005 (the “May 4, 2005 Letter”) that he had received through state- court

discovery in the BDH litigation. (Doc. 293-4, Rembert Dep. Tr. 105:6- 106:23).

Undisputed.

      43.     Rembert had personally signed the May 4, 2005 letter, had been

familiar with it, and knew of its contents. (Doc. 293-4, Rembert Dep. Tr. 105:6-

106:23). Undisputed.

      44.     Paradise came to believe that AMI was engaged in an illegal kickback

scheme when BDH produced the May 4, 2005 Letter; “it was some point after that

and then we filed the Complaint after kind of putting things together.” (Doc. 353-

27, Paradise Dep. Tr. 164:1-9; see id. at 164:10-165:11). Undisputed.

      45.     Other than testifying about “[t]he limitations put in place and the

signing of an agreement,” Paradise refused to explain fully what about the

produced document made him believe AMI was engaged in an illegal kickback

scheme on grounds of privilege. (Doc. 353-27, Paradise Dep. Tr. 164:23-165:8).

Disputed. Doc. 353-27 (M. Paradise Dep. Tr.), p. 164:23- 165:8.




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      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

      46.    Rembert never returned or paid back the distributions or settlement

proceeds that he received from AMI through ICIG. (Doc. 293-4, Rembert Dep. Tr.

94:2-10). Undisputed.

      47.    Paradise never returned or paid back any of the distribution or

settlement proceeds that he received from AMI through ICIG. (Doc. 353-27,

Paradise Dep. Tr. 163:1-25). Undisputed.

                d. Relators Drop Their State-Court Damages Claim Against
                   BDH

      48.    Meanwhile, On May 5, 2016, almost five months after Relators filed

their federal qui tam action, Rembert and Paradise’s counsel in the state-court

action against BDH, Benjamin Alke, sent a letter to BDH’s counsel, John

Kauffman, stating as follows:

             Frank Rembert and Mike Paradise have elected to drop
             any claim for damages they have against Bozeman
             Deaconess Hospital stemming from lost wages from
             Intercity Radiology (“ICR”), lost profits from Intercity
             Investment Group, and lost profits from Advance
             Medical Management as a result of their termination as
             radiologists at ICR.

(Doc. 353-34 at p. 2). Undisputed.

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      49.     On August 11, 2017, Judge Elizabeth A. Best issued an order setting a

hearing date for September 15, 2017, regarding BDH’s second motion for partial

summary judgment on Counts II and III, which provided in part:

              The Plaintiffs have requested a hearing on the Motion.
              Disturbingly, Plaintiffs admit in their brief opposing
              summary judgment that they seek no damages for Counts
              II and III.

              Plaintiffs’ insistence on pursuing these claims under such
              circumstances raises grave concerns for the Court that
              they are intentionally, unreasonably, and vexatiously
              multiplying these proceedings. Such conduct implicates
              the provisions of §37-91-421, MCA. Plaintiffs are
              strongly cautioned that the Court will not lightly respond
              to such conduct.

(Doc. 353-35 at p. 1 [Dep. Ex. 283]). Undisputed.

      50.     On the eve of the hearing ordered by Judge Best, on September 14,

2017, Rembert and Paradise settled their state-court lawsuit against BDH




                                                                                     .

Undisputed.

II.   History of AMI Joint Venture

A.    ICR Explores a Joint Venture

      51.     Rembert was present when the radiologists were “starting to talk”

about opening an imaging center in 2002. (Doc. 293-4, Rembert Dep. Tr. 22:17-24,



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29:9-14). Disputed. Doc. 293-4 (Rembert Dep. Tr.), pp. 22:17- 24, 29:9-14; 177:7-

18.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      52.




        Doc. 293-4, Rembert Dep. Tr. 177:7-13; Ex. 2, ICR 30(b)(6) (Spear) Dep.

Tr. 18:1-13; see Ex. 7 [Dep. Ex. 223] at p. 1). Undisputed.

      53.    Rembert later became the “point person” for ICR on the joint venture

project and served in that role through the formation of AMI. (Doc. 293-4,

Rembert Dep. Tr. 30:3-7). Disputed. Doc. 362-12 (Monaghan Dep. Tr.), pp. 23:10-

24, 24:11-17; Doc. 362-5 (Liz Lewis BDH 30(b)(6) Dep. Tr.), p. 9:9-11:17.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

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Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      54.    ICR intended to partner with BDH on an outpatient imaging center,

and, ICR approached BDH about that possibility. (Ex. 2, ICR 30(b)(6) (Spear)

Dep. Tr. 61:24-64:7, 78:5-79:8; Doc. 293-4, Rembert Dep. Tr. 243:3-11; see Doc.

61-2 [Dep. Ex. 49] at p. 3). Disputed. Doc. 357-1 (DE 49); Doc. 364-1 (Dep. Ex.

223 Filed Under Seal); Doc. 359-2 (Dep. Ex. 290 Filed Under Seal); Ex. 2 (Dep.

Ex. 291).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,




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809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      55.    By March 12, 2002, ICR was already discussing the possibility of

involving the hospital in a joint venture imaging center. (Doc. 293-4, Rembert

Dep. Tr. 182:2-183:21). Disputed. Doc. 293-4 (Rembert Dep. Tr.), pp. 182:2-

183:21; 188:16-23; Doc. 364-1 (Dep. Ex. 223 Filed Under Seal).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      56.    In mid-2002, a radiologist who was, at the time, unaffiliated with ICR,

suggested to ICR that it create its own freestanding imaging center, but the ICR

radiologists rejected the idea outright because they intended to joint venture with

BDH. (Ex. 2, ICR 30(b)(6) (Spear) Dep. Tr. 95:4-97:4). Disputed. Doc. 357-1

(Dep. Ex. 49); Doc. 190-13 (Dep. Ex. 51), p. 1; Doc. 364-1 (Dep. Ex. 223 Filed

Under Seal); Doc. 359-2 (Dep. Ex. 290 Filed Under Seal).


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      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      57.    ICR did not want to open an imaging center that would compete with

BDH because it did not want to take an action that would potentially compromise

care for all patients in the health system. (Ex. 2, ICR 30(b)(6) (Spear) Dep. Tr.

61:24-67:24). Disputed. Doc. 357-27 (Dep. Ex. 1); Doc. 357-3 (Dep. Ex. 64); Doc.

359-2 (Dep. Ex. 290 Filed Under Seal); Doc. 359-3 (Dep. Ex. 293), p. 2.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is


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otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      58.    ICR hired a consultant, AGI Healthcare (“AGI”), to assist with the

analysis of a potential outpatient imaging center, and the consultant advised ICR

from the very beginning of the engagement in March 2012 that it should not

attempt to open a center on its own but rather should “approach the hospital” about

a partnership. (Ex. 2, ICR 30(b)(6) (Spear) Dep. Tr. 106:19-107:9; see Doc. 61-3

[Dep. Ex. 51] at p. 2). Disputed. Doc. 362-2 (Rex Spear ICR 30(b)(6) Dep. Tr.), p.

106:8-10; Doc. 357-1 (Dep. Ex. 49); Doc. 190-13 (Dep. Ex. 51); Doc. 364-1 (Dep.

Ex. 223 Filed Under Seal); Ex. 2 (Dep. Ex. 291).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,




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809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      59.    ICR’s interest in forming a joint venture with BDH rather than a

competing imaging center was consistent with advice offered by AGI, which

warned that a competing imaging center may not succeed because it would not be

supported by community physicians. (Doc. 293-4, Rembert Dep. Tr. 182:2-191:5;

see Doc. 61-2 [Dep. Ex. 49] at p. 4 (describing Physician- Hospital Relationship);

Doc. 61-3 [Dep. Ex. 51] at pp. 6-7 (same)). Disputed Doc. 357-1 (Dep. Ex. 49);

Doc. 190-13 (Dep. Ex. 51); Doc. 357-3 (Dep. Ex. 64), p. 5; Doc. 364-1 (Dep. Ex.

223 Filed Under Seal); Doc. 359-2 (Dep. Ex. 290 Filed Under Seal); Doc. 359-3

(Dep. Ex. 293), p. 1.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).


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      60.    ICR did not communicate to anybody at BDH that ICR had an interest

in opening its own free-standing outpatient imaging center. (Ex. 2, ICR 30(b)(6)

(Spear) Dep. Tr. 90:11-21). Disputed. Doc. 362-2 (Rex Spear ICR 30(B)(6) Dep.

Tr.), p. 90:11-21; Doc. 357-1 (Dep. Ex. 49); Doc. 190-13 (Dep. Ex. 51), p. 3; Doc.

364-1 (Dep. Ex. 223 Filed Under Seal); Doc. 359-2 (Dep. Ex. 290 Filed Under

Seal); Doc. 359-3 (Dep. Ex. 293), p. 1.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      61.    ICR took no steps to develop its own free-standing outpatient facility

to compete with BDH. (Doc. 293-4, Rembert Dep. Tr. 178:3-181:21; Ex. 2, ICR

30(b)(6) (Spear) Dep. Tr. 61:24-64:7, 77:19-79:8). Disputed. Doc. 357-1 (Dep. Ex.

49); Doc. 190-13 (Dep. Ex. 51), p. 3; Doc. 364-1 (Dep. Ex. 223 Filed Under Seal);

Ex. 2 (Dep. Ex. 291); Doc. 362-2 (Rex Spear ICR 30(b)(6) Dep. Tr.) 95:4-96:13.


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      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      62.    The discussion between BDH and the radiologists regarding the

ownership division was around whether BDH would own 75% or 77.5% of AMI.

(Doc. 293-4, Rembert Dep. Tr. 42:2-43:9; Ex. 2, ICR 30(b)(6) (Spear) Dep. Tr.

90:11-21, 133:12-19). Disputed. Doc 357-1 (Dep. Ex. 49), p.3; Doc. 362-2 (Rex

Spear ICR 30(b)(6) Dep. Tr.) 133:21-134:12; Doc. 362-5 (Liz Lewis BDH 30(b)(6)

Dep. Tr.), p. 107:1-8; Doc. 364-2 (Nordwick Dep. Tr. Filed Under Seal) 93:18-

96:25.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

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Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      63.    Rembert cannot recall whether ICR or ICIG ever asked for more than

25% ownership of AMI. (Doc. 293-4, Rembert Dep. Tr. 43:7-9). Undisputed.

      64.    Supermajority ownership of by a non-profit health system, like BDH,

in a joint venture with a radiology group is an important consideration for

compliance with tax laws as to its non-profit, tax-exempt status, and is common in

such imaging joint ventures between non-profit, tax exempt health systems and

radiologists. (Ex. 8, Kaufman Dep. Tr. 74:16-75:18; Ex. 28, Lewis Aff. ¶ 3).

Disputed. Doc. 364-2 (John Nordwick Dep. Tr. Filed Under Seal), p. 100:5-12.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.


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B.      The Parties’ Intent

        65.




              Ex. 9, Nordwick Dep. Tr. 35:4-20, 72:19-73:1, 83:5-25; Ex. 6, Spear

Dep. Tr. 110:20-25, 135:25-136:16; see Ex. 10 [Dep. Ex. 501]




                                                                    Ex. 11, Garthwaite

Dep. Tr. 52:4-24). ). Disputed. Doc. 357-27 (Dep. Ex. 1); Doc. 297-4 (Dep. Ex.

153); Doc. 357-14 (Dep. Ex. 311); Ex. 3 (Gordon Davidson Dep. Tr.), p. 40:23-

41:1.

        RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

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See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      66.     There were “lots of” reasons to open AMI, including that AMI would

be “good” for patients by providing a better patient experience, enhancing the

patient care environment, being more convenient, serving unmet needs, and

reducing delays. (Doc. 293-4, Rembert Dep. Tr. 29:21- 32:8, 249:1-21).

Undisputed.

      67.     Rembert and all other radiologists at ICR supported the formation of

AMI. (Doc. 293-4, Rembert Dep. Tr. 32:11-19, 249:1-21). Undisputed.

      68.     Rembert believed that developing a joint venture with BDH to provide

MRI, CT, ultrasound and other modalities would help address increased demand

for those modalities and that it made sense to have another option in Bozeman for

CT and MR imaging services at AMI beyond CT and MR imaging services at

BDH. (Doc. 293-4, Rembert Dep. Tr. 31:10-32:8, 197:20-198:10). Undisputed.

      69.     It was a “good idea” to locate AMI on the BDH campus because most

of the medical office buildings were already located on the BDH campus, patients

would benefit because it would be easier to manage medical problems and access


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other services there, and it would otherwise be more convenient for patients. (Doc.

293-4, Rembert Dep. Tr. 47:21-48:19, 49:21-23). Disputed. Doc. 357-27 (Dep. Ex.

1); Doc. 300-1 (Dep. Ex. 4); Doc. 382-1 (Dep. Ex. 5).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      70.

                                                                (Doc. 293-4, Rembert

Dep. Tr. 69:24-77:3; Ex. 29, Affidavit of John Nordwick (“Nordwick Aff.”) ¶ 7;

Ex. 28, Lewis Aff. ¶ 12); Ex. 12, Monaghan Dep. Tr. 310:17-311:10; Ex. 6, Spear

Dep. Tr. 64:21-25; Ex. 13, Greeson Dep. Tr. 330:7-10, 313:9-314:1, 334:21-

335:4). Disputed. Doc. 357-27 (Dep. Ex. 1); Doc. 105-2 (Dep. Ex. 9); Doc. 357-16

(Dep. Ex. 10); Doc. 357-17 (Dep. Ex. 11); Doc. 105-6 (Dep. Ex. 14), p. 3; Doc.

357-20 (Dep. Ex. 19); Doc. 105-8 (Dep. Ex. 24); Doc. 357-25 (Dep. Ex. 31); Doc.

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362-13 (Thomas Greeson Dep. Tr.), pp. 120:20-121:20, 122:16-123:4, 138:7-21,

139:1-7, 175:5-18; Ex. 4 (Dep.Ex. 297); Doc. 297-10 (Dep. Ex. 312).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      71.    Ensuring that AMI complied with the AKS was a focus leading up to

the formation of AMI, including discussions between the parties and between ICR

and its lawyers. (Doc. 293-4, Rembert Dep. Tr. 69:7-23). Disputed. Doc. 357-27

(Dep. Ex. 1); 105-2 (Dep. Ex. 9); Doc. 357-16 (Dep. Ex. 10); Doc. 357-17 (Dep.

Ex. 11); Doc. 105-6 (Dep. Ex. 14), p. 3; Doc. 357-20 (Dep. Ex. 19); Doc. 105-8

(Dep. Ex. 24); Doc. 357-25 (Dep. Ex. 31); Doc. 190-9 (Dep. Ex. 45); Doc. 190-

7(Dep. Ex. 68), pp.14-15; Doc. 357-32 (Dep. Ex. 71); Ex. 4 (Dep. Ex. 297); Doc.




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297-10 (Dep. Ex. 312); Doc. 362-13 (Thomas Greeson Dep. Tr.), pp. 239:11-15,

246:6-249:3.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      72.

                                (Ex. 5, BDH 30(b)(6) Dep. Tr. 139:11-14; Ex. 6,

Spear Dep. Tr. 16:19-17:2; see Ex. 13, Greeson Dep. Tr. 315:22-316:16

(describing T.J. Sullivan’s professional experience); Ex. 8, Kaufman Dep. Tr.

61:18-21 (describing Thomas Greeson’s professional reputation)). Undisputed.

      73.    Rembert was aware of concerns raised by ICR’s attorney that certain

proposed aspects of the deal might risk violating the AKS. (Doc. 293-4, Rembert

Dep. Tr. 77:4-77:18, 225:4-230:16). Undisputed.

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      74.    Rembert understood that those concerns had been addressed before he

signed the Operating Agreement, and “was confident that the agreement . . . was

legal and that there was no problem with it.” (Doc. 293- 4, Rembert Dep. Tr. 77:4-

78:2, 78:19-79:17). Undisputed.

      75.    Rembert was generally familiar with the AKS, and understood that it

prohibited paying kickbacks for referrals. (Doc. 293-4, Rembert Dep. Tr. 67:13-

69:6). Disputed. Doc. 293-4 (Rembert Dep. Tr.), pp. 68:9-10, 141:16-142:8;

233:5-8; 234:9-12.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      76.    Rembert believed at the time of formation of AMI that the parties

intended to operate AMI “in a manner consistent with the Anti- Kickback Statute.”

Doc. 293-4, Rembert Dep. Tr. 71:2-6). Undisputed.




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      77.    Rembert did not intend to pay a kickback in connection with AMI.

Doc. 293-4, (Rembert Dep. Tr.) 69:24-70:4). Undisputed.

      78.    Rembert cannot identify a single individual at BDH, ICR, or AMI

who knowingly and willfully paid or received a kickback in connection with AMI.

Doc. 293-4, (Rembert Dep. Tr.) 109:23-110:15. Undisputed.

C.    Valuation

                a. VMG Draft Valuation

      79.    In order to comply with BDH’s tax-exempt responsibilities and

associated requirements, BDH hired Valuation Management Group (“VMG”) to

provide a third-party, independent fair-market-value analysis of certain outpatient

imaging services performed at BDH for BDH’s planning purposes as to its

potential contribution to a joint venture. (Ex. 28, Lewis Aff. ¶ 3; see Ex. 13,

Greeson Dep. Tr. 314:2-17). Disputed. Doc. 362-18 (Liz Lewis Dep. Tr.), pp.

175:24-182:6; Doc. 362-5 (Liz Lewis BDH 30(b)(6) Dep. Tr.), pp. 110:13-111:11;

Doc. 105-2 (Dep. Ex. 9), p 3.; Doc. 357-31 (Dep. Ex. 35), p. 3; Doc. 297-4 (Dep.

Ex. 153); Doc. 357-14 (Dep. Ex. 311); Doc. 386-3 (Aaron Murski VMG 30(b)(6)

Dep. Tr.), pp. 130:22-132:15.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      80.     In February 2005, ICR’s attorney, Thomas Greeson, raised a concern

about a valuation methodology employed by VMG in its draft valuation, known as

the “income approach,” notably that valuing BDH’s contribution to AMI based on

projected future revenue to be generated by the joint venture could possibly be

viewed as the hospital receiving remuneration for referrals under the AKS. (Doc.

293-4, Rembert Dep. Tr. 77:4-8; see Ex. 13, Greeson Dep. Tr. 164:10-165:17).

Undisputed.

      81.     Valuing a contribution to a joint venture based on an “income

approach” is a standard valuation methodology. (Ex. 14, Endicott Dep. Tr. 33:7-

19). Disputed. Doc. 384-7.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.


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See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      82.    Greeson recommended that the parties instead value BDH’s

contribution based on the fair market value of startup equipment costs. (Ex. 13,

Greeson Dep. Tr. 259:12-21). Undisputed.

      83.    In the ensuing valuation, VMG changed its valuation to a “cost

approach,” another commonly used valuation methodology, which valued BDH’s

non-cash contribution to the joint venture as the fair market value of the equipment

that the hospital intended to contribute to the venture. (Ex. 15, Lange Dep. Tr.

70:15-71:17). Disputed. Doc. 357-27 (Dep. Ex. 1); Doc. 160-8 (Dep. Ex. 34); Doc.

386-3 (VMG Dep. Tr.) 163:6-165:25; 166:14- 167:9; Doc. 357-31 (Dep. Ex. 35),

p. 22; Doc. 105-2 (Dep. Ex. 9), p. 4.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.


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See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2).

        84.   Greeson also expressed concern when he was told by an ICR

representative that BDH was requesting $600,000 from ICIG. Doc. 293-4,

(Rembert Dep. Tr.), 225:4-16). Undisputed.

        85.   Neither ICR nor ICIG made a $600,000 payment to BDH. Doc. 293-4,

(Rembert Dep. Tr.), 225:11-13, 226:1-6; Ex. 12, Monaghan Dep. Tr. 351:15-352:6;

Ex. 2, ICR 30(b)(6) (Spear) Dep. Tr. 166:5-14). Undisputed.

        86.   ICR made no payments to BDH in connection with the AMI

transaction. Doc. 293-4, (Rembert Dep. Tr.), 226:1-6). Undisputed.

        87.   The Operating Agreement that formed AMI “did not reflect any

contributions based on volume or value of business generated by any of the

parties.” (Ex. 13, Greeson Dep. Tr. 330:7-10; Ex. 15, Lange Dep. Tr. 70:11-71:17;

Doc. 314-1 at p. 8 ¶ 4.2.2). Disputed. Doc. 357-27 (Dep. Ex. 1); Doc. 160-8 (Dep.

Ex. 34); Doc. 357-31 (Dep. Ex. 35); Doc. 357-44 (Dep. Ex. 233); Ex. 4 (Dep. Ex.

297); Doc. 304-1 (Dep. Ex. 298); Doc. 336-2 (Dep. Ex. 299); Doc. 304-3 (Dep. Ex.

300).




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      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      88.    Greeson had no concerns about the legality of the Operating

Agreement that created AMI, including no concerns about compliance with the

AKS. (Ex. 13, Greeson Dep. Tr. 313:9-314:1). Disputed. Doc. 190-9 (Dep. Ex.

45); Doc. 190-7 (Dep. Ex. 68), pp.14-15; Doc. 357-32 (Dep. Ex. 71).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is


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otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      89.    Greeson had no basis to believe that the parties agreed to pay money

in exchange for referrals in the Operating Agreement. (Ex. 13, Greeson Dep. Tr.

334:21-335:4). Disputed. Doc. 357-16 (Dep. Ex. 10); Ex. 5 (Dep. Ex. 26); Doc.

190-9 (Dep. Ex. 45); Doc. 190-4 (Dep. Ex. 50); Doc. 190-7(Dep. Ex. 68), pp.14-

15; Doc. 190-11 (Dep. Ex. 70); Doc. 362-13 (Thomas Greeson Dep. Tr.), p. 175:5-

18.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).




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      90.    During the negotiations, BDH conveyed no request for payment in

exchange for referrals to ICR or ICIG. (Ex.16, Sullivan Dep. Tr. 53:8-22 (“The –

the hospital wasn’t asking for credit for referrals. There was no thought in terms of

referrals being made. The -- the thought was that the hospital had existing

outpatient imaging that was going to no longer be done at the hospital and might

very well be done at the joint venture. To the extent that -- that this volume or

these procedures were ordered, they were typically ordered by community

physicians. So the hospital was aware and would be risking its tax exemption if it

didn’t obtain credit for the value of the business that was being contributed to the

joint venture.”)). Disputed. Doc. 357-16 (Dep. Ex. 10); Doc. 357-17 (Dep. Ex. 11);

Ex. 6 (Dep. Ex. 28); Doc. 297-10 (Dep. Ex. 312); Doc. 362-5 (BDH 30(b)(6) Dep.

Tr.) 120:11- 16; 121:8-10; 124:5-7; 124:13-19; 125:24-126:2; 129:11-15; 130:7-

10; 132:22-24; and 133:12-15.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,


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809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      91.




                                         Doc. 293-4, (Rembert Dep. Tr.), 70:8-23,

71:10-72:21, 75:11-25, 76:25-77:18, 225:4-230:16; Ex. 12, Monaghan Dep. Tr.

310:17-311:10; Ex. 6, Spear Dep. Tr. 64:21-25; Ex. 13, Greeson Dep. Tr. 330:7-

10, 313:9-314:1, 334:21-335:4). Disputed. Doc. 357-27 (Dep. Ex. 1); Ex. 5 (Dep.

Ex. 26); Doc. 357-25 (Dep. Ex. 31); Doc. 190-9 (Dep. Ex. 45); Ex. 7 (Dep. Ex.

50); Doc. 190-7(Dep. Ex. 68), pp.14-15; Doc. 190-11 (Dep. Ex. 70).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

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                b. The May 4, 2005 Letter

      92.    The May 4, 2005 Letter (Doc. 105-3) recites assumptions that the

parties made in order to provide information to VMG for its performance of a

valuation. (Ex. 5, BDH 30(b)(6) Dep. Tr. 17:12-18:4). Disputed. Doc. 357-27

(Dep. Ex. 1); Doc. 357-19 (Dep. Ex. 17); Doc. 357-21 (Dep. Ex. 24); Doc. 160-8

(Dep. Ex. 34); Doc. 357-31, p. 4, 22 (Dep. Ex. 35), p. 22; Doc. 357-32 (Dep. Ex.

71); Doc. 357-33 (Dep. Ex. 72); Doc. 357-34 (Dep. Ex. 73); Doc. 357-44 (Dep. Ex.

233); Ex. 8 (Dep. Ex. 277); Ex. 9 (Dep. Ex. 278); Doc. 297-10 (Dep. Ex. 312).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).




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      93.     The May 4, 2005 Letter was addressed to Rembert, and Rembert

reviewed the letter, was familiar with its contents, and signed it. Doc. 293-4,

(Rembert Dep. Tr.), 106:1-19). Undisputed.

      94.     When he signed the May 4, 2005 Letter, Rembert did not believe it

reflected an agreement to pay remuneration for referrals or otherwise violate the

AKS or any other law. Doc. 293-4, (Rembert Dep. Tr.), 119:9-16, 131:17-132:7).

Undisputed.

      95.     When he signed the May 4, 2005 Letter, Rembert believed it merely

set out the assumptions for VMG to use in its valuation of AMI. Doc. 293-4,

(Rembert Dep. Tr.), 122:24-123:6). Disputed. Doc. 293-4 (Rembert Dep. Tr.) pp.

251:6-15, 139:1-14 and 250:20-252:18.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.




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      96.    When he signed the May 4, 2005 Letter, Rembert did not believe it

required AMI to perform a minimum number of CT scans. Doc. 293-4, (Rembert

Dep. Tr.), 123:3-24). Undisputed.

      97.    When he signed the May 4, 2005 Letter, Rembert did not believe it

contained an agreement to cap or limit the number of CT scans to be performed at

AMI. Doc. 293-4, (Rembert Dep. Tr.), 123:7-24). Disputed. Doc. 293-4 (Rembert

Dep. Tr.), pp. 136:14-137:13; 139:1-14; 141:16- 142:8; and 250:20-252:18.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      98.    When he signed the May 4, 2005 Letter, Rembert understood that it

did not require BDH to refer patients to AMI, and Rembert does not recall anyone

saying that there was such an agreement. Doc. 293-4, (Rembert Dep. Tr.), 123:7-

24, 252:25-253:3). Undisputed.




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      99.    The May 4, 2005 Letter does not say that AMI could not deviate in

practice from the assumptions contained in the May 4, 2005 letter. Doc. 293-4,

(Rembert Dep. Tr.), 123:7-24). Undisputed.

      100. Nobody at BDH, ICR, or ICIG communicated to Rembert that the

May 4, 2005 Letter reflected a cap on CT scans at AMI; Rembert does not recall

discussing the May 4, 2005 Letter with anyone from BDH, ICR, or ICIG. Doc.

293-4, (Rembert Dep. Tr.), 115:20-116:24, 132:8-25). Disputed. Doc. 293-4

(Rembert Dep. Tr.), pp. 136:14-137:13; 139:1-14; 141:16- 142:8; and 250:20-

252:18.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      101. The May 4, 2005 Letter says nothing about MRIs or MRI volume.

Doc. 293-4, (Rembert Dep. Tr.), 123:25-124:7). Undisputed.




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      102. When Rembert signed the May 4, 2005 Letter, he believed the letter

was consistent with the AKS, and he did not think that it reflected remuneration for

referrals. Doc. 293-4, (Rembert Dep. Tr.), 131:22-132:7). Undisputed.

                 c. May 2005: VMG Final Valuation of AMI

      103. Prior iterations of the VMG valuation of the BDH contribution to

AMI were superseded by the final valuation distributed on May 18, 2005, which

used the cost (or asset) approach to value BDH’s contribution to the joint venture

(Ex. 14, Endicott Dep. Tr. 96:17-20, 113:6-18; Ex. 15, Lange Dep. Tr. 72:5-19).

Disputed. Doc. 357-27 (Dep. Ex. 1); Doc. 160-8 (Dep. Ex. 34); Doc. 357-31 (Dep.

Ex. 35), p. 4, 22.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2).




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      104. No aspect of the December 2004 VMG valuation was reflected in or

incorporated in the Operating Agreement relative to the value of BDH

contributions to AMI. (Ex. 15, Lange Dep. Tr. 71:5-17; compare Ex. 17 [Dep. Ex.

263], with Doc 314-1). Disputed. Doc. 105-2 (Dep. Ex. 9), p. 5; Doc. 357-31, pp.

4, 22 (Dep. Ex. 35).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2).

      105. The October 2004 draft VMG report was not incorporated in whole or

in part by the Operating Agreement. (Compare Doc. 105-2, with 314-1). Disputed;

Doc. 357-27 (Dep. Ex. 1); Doc. 105-2 (Dep. Ex. 9); Doc. 160-8 (Dep. Ex. 34);

Doc. 357-31 (Dep. Ex. 35).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors


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Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      106. The only aspect of the final May 18, 2015 VMG valuation that was

incorporated into the Operating Agreement was VMG’s estimation of the fair

market value of BDH’s contributed used equipment. (Doc. 61-1 [Dep. Ex. 35] at p.

29; Doc. 314-1 at p. 8 ¶ 4.2.2.1; id. at p. 31 (Ex. B)). Disputed. Doc. 357-27 (Dep.

Ex. 1); Doc. 160-8 (Dep. Ex. 34); Doc. 357- 31, p. 4, 22 (Dep. Ex. 35).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,


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809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2).

      107. No aspect of VMG’s application of the income approach to the BDH

contribution to AMI in its draft valuation, including projections or assumptions

relative to projected scan volume or projected revenue, was incorporated or

reflected in the Operating Agreement or any other operation and management

agreement contemporaneously referenced in section 6 of the Operating Agreement.

(Ex. 15, Lange Dep. Tr. 71:5-17; Doc. 314-1, passim & 13; see Doc. 105-12; Doc.

105-13; Doc. 105-15). Disputed. Doc. 357-27 (Dep. Ex. 1); Doc. 160-8 (Dep. Ex.

34); Doc. 357-31 (Dep. Ex. 35).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).


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D.    July 2005: Formation of AMI Through Execution of AMI’s Operating
      Agreement

                a. Execution of the Operating Agreement

      108. In July 2005, BDH and ICIG executed the operating agreement for

AMI (the “Operating Agreement”). (Doc. 314-1 at pp. 1, 29). Disputed. Doc. 293-4

(Rembert Dep Tr.), pp. 40:8-41:3; Doc. 364-2 (John Nordwick Dep. Tr. Filed

Under Seal), p. 26:5-8.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence is not probative or is otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1),

(e); see also T.W. Elec. Serv., 809 F.2d at 630.

      109. As the first president of ICIG, Rembert signed the Operating

Agreement forming AMI on behalf of ICIG. John Nordwick, the BDH chief

executive officer, signed the Operating Agreement on BDH’s behalf. (Ex. 29,

Nordwick Aff. ¶ 3; Doc. 293-4, Rembert Dep. Tr. 33:13-34:4-7; see Doc. 314-1 at

p. 29). Undisputed.

      110. Once AMI was formed, Rembert served as ICIG’s first designee on

the AMI operating committee, the first president and chief executive officer of



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AMI, and the first medical director of AMI. Doc. 293-4, (Rembert Dep. Tr.),

36:22-39:10). Undisputed.

      111. Prior to signing the Operating Agreement, Rembert identified the

services that would be offered by AMI, reviewed drafts of the Operating

Agreement, and communicated with ICR’s attorney and the ICR practice manager

who was primarily responsible for the negotiations, including via emails, calls, and

at meetings. Doc. 293-4, (Rembert Dep. Tr.), 30:3-31:14, 34:14-36:17).

Undisputed.

                b. Express Purpose of AMI

      112. Section 3.1 of the Operating Agreement identifies the “business and

purposes of the LLC [AMI],” including “to operate in a manner consistent with

Section 3.2 herein.” (Doc. 314-1 at p. 7 ¶ 3.1). Undisputed.

      113. Section 3.2 of the Operating Agreement mandates that members

operate AMI “at all times in a manner that furthers the charitable purposes of the

Hospital and shall not operate in any manner inconsistent with the tax-exempt

status of the Hospital,” including a duty to “provide services to Medicare,

Medicaid, and indigent patients,” as well as a commitment to “place community

benefit above profit motive.” (Doc. 314-1 at p. 7 ¶ 3.2). Undisputed.

      114. The members of AMI further committed under Section 7.6 of the

Operating Agreement “that the duty to provide community benefit as set forth in


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Section 3.2 overrides the profit maximization of the LLC [AMI].” (Doc. 314-1 at

p. 14 ¶ 7.6). Undisputed.

                c. The Merger Clause

      115. The Operating Agreement is the “definitive” formation agreement for

AMI and sets forth the “actual agreement” of the parties regarding the formation of

AMI. Doc. 293-4, (Rembert Dep. Tr.), 35:22-3; 63:5-21). Disputed. Doc. 357-27

(Dep. Ex. 1); Doc. 357-25 (Dep. Ex. 31); Doc. 357-32 (Dep. Ex. 71); Doc. 357-33

(Dep. Ex. 72); Doc. 357-34 (Dep. Ex. 73); Doc. 357-42 (Dep. Ex. 232); Doc. 357-

45 (Dep. Ex. 234); Ex. 8 (Dep. Ex. 277); Ex. 9 (Dep. Ex. 278); Ex. 4 (Dep. Ex.

297); Doc. 304-1 (Dep. Ex. 298); Doc. 336-2 (Dep. Ex. 299); Doc. 336-3 (Dep. Ex.

300); Ex. 10 (Dep. Ex. 307); Doc. 297-10 (Dep. Ex. 312). Doc. 353-5 (Paradise

Dep. Tr.), pp. 63:1-65:13; Doc. 293-4 (Rembert Dep. Tr.). pp. 118:5-21; 136:14-

137:13; 139:1-14; and 250:20-252:18.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,


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809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      116. Section 24 of the Operating Agreement, captioned “Entire

Agreement,” provides that “the Operating Agreement supersedes and revokes any

and all prior agreements, written or oral, relating to” AMI. Doc. 293-4, (Rembert

Dep. Tr.), 61:14-63:21; Doc. 314-1 at p. 27 ¶ 24). Undisputed.

      117. The parties understood that the Operating Agreement contained a

merger clause and represented the final agreement between the parties to form

AMI. (Doc. 314-1 at p. 27 ¶ 24; Doc. 293-4, Rembert Dep. Tr. 61:16-63:21; Ex.

18, Lewis Dep. Tr. 321:19-321:25; Ex. 5, BDH 30(b)(6) Dep. Tr. 46:11-14; Ex. 13,

Greeson Dep. Tr. 327:18-329:20; Ex. 12, Monaghan Dep. Tr. 177:7-20, 323:7-11).

Disputed. Doc. 357-27 (Dep. Ex. 1); Doc. 357-25 (Dep. Ex. 31); Doc. 357-32

(Dep. Ex. 71); Doc. 357-33 (Dep. Ex. 72); Doc. 357-34 (Dep. Ex. 73); Doc. 357-42

(Dep. Ex. 232); Doc. 357-45 (Dep. Ex. 234); Ex. 8 (Dep. Ex. 277); Ex. 9 (Dep. Ex.

278); Ex. 4 (Dep. Ex. 297); Doc. 304-1 (Dep. Ex. 298); Doc. 336-2 (Dep. Ex. 299);

Doc. 336-3 (Dep. Ex. 300); Ex. 10 (Dep. Ex. 307); Doc. 297-10 (Dep. Ex. 312).

Doc. 353-5 (Paradise Dep. Tr.), pp. 63:1-65:13; Doc. 293-4 (Rembert Dep. Tr.).

pp. 118:5-21; 136:14-137:13; 139:1-14; and 250:20-252:18.




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      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      118. The parties understood that Section 24 of the Operating Agreement

superseded and revoked, among other agreements, the May 4, 2005 Letter, and the

May 4, 2005 Letter was not an enforceable agreement during the course of AMI’s

operation. (Doc. 314-1 at p. 27 ¶ 24; Doc. 293-4, Rembert Dep. Tr. 61:16-63:21;

Ex. 18, Lewis Dep. Tr. 321:19-321:25; Ex. 5, BDH 30(b)(6) Dep. Tr. 46:11-14;

Ex. 13, Greeson Dep. Tr. 259:22-260:2, 327:18-329:20; Ex. 12, Monaghan Dep.

Tr. 177:7-20, 323:7-11). Disputed. Doc. 357-27 (Dep. Ex. 1); Doc. 357-25 (Dep.

Ex. 31); Doc. 357-32 (Dep. Ex. 71); Doc. 357-33 (Dep. Ex. 72); Doc. 357-34 (Dep.

Ex. 73); Doc. 357-42 (Dep. Ex. 232); Doc. 357-45 (Dep. Ex. 234); Ex. 8 (Dep. Ex.

277); Ex. 9 (Dep. Ex. 278); Ex. 4 (Dep. Ex. 297); Doc. 304-1 (Dep. Ex. 298); Doc.


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336-2 (Dep. Ex. 299); Doc. 336-3 (Dep. Ex. 300); Ex. 10 (Dep. Ex. 307); Doc.297-

10 (Dep. Ex. 312). Doc. 353-5 (Paradise Dep. Tr.), pp. 63:1-65:13; Doc. 293-4

(Rembert Dep. Tr.), pp. 118:5-21; 136:14-137:13; 139:1-14; and 250:20-252:18.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      119. It is common in the industry that agreements preliminary to joint

venture formation are superseded and revoked by final agreements. (Ex. 8,

Kaufman Dep. Tr. 159:22-161:20). Undisputed.

      120. The Operating Agreement does not contain any commitment about the

volume of CT or MRI scans that AMI would perform. Doc. 293-4, (Rembert Dep.

Tr.), 63:23-64:25; see Doc. 314-1). Undisputed.




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      121. The Operating Agreement does not contain any cap on the number of

CTs or MRIs that AMI could perform. Doc. 293-4, (Rembert Dep. Tr.), 65:5-14;

see Doc. 314-1). Undisputed.

      122. The Operating Agreement says nothing about BDH referring a

minimum, cap, quota, or allocation of patients to AMI, and does not require BDH

to refer patients to AMI. Doc. 293-4, (Rembert Dep. Tr.), 65:15-66:4; see Doc.

314-1). Undisputed.

      123. The Operating Agreement “did not reflect any contributions based on

volume or value of business generated by any of the parties.” (Ex. 13, Greeson

Dep. Tr. 330:7-10; Ex. 15, Lange Dep. Tr. 70:11-71:17). Undisputed.

                d. Ownership Interests in AMI

      124. The Operating Agreement established that BDH had a membership

interest of 77.5% and ICIG had a membership interest of 22.5%. (Doc. 314-1 at p.

30 (Ex. A); see id. at p. 8 ¶¶ 4.2.2.2, 4.2.3.1). Undisputed.

      125. In joint ventures involving nonprofit health systems, it is common for

the health system to own between 75 and 80 percent of the joint venture. (Ex. 8,

Kaufman Dep. Tr. 74:4-15). Disputed. Doc. 362-5 (Liz Lewis BDH 30(b)(6) Dep.

Tr.) p.107:1-8; Doc. 364-2 (John Nordwick Dep. Tr. Filed Under Seal), pp. 93:18-

96:25, 100:5-12; Doc. 297-12 (Dep. Ex. 251).




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      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      126. The division of ownership in AMI between BDH and ICR is similar to

comparable joint ventures between nonprofit health systems and radiologists. (Ex.

8, Kaufman Dep. Tr. 74:4-15). Disputed. Doc. 364-2 (John Nordwick Dep. Tr.

Filed Under Seal), pp. 93:18-96:25, 100:5-12; Ex. 11 (Bozeman_0035245).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is




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otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      127. BDH’s and ICIG’s relative ownership interests in AMI, as specified in

Exhibits A and B to the Operating Agreement, correlate with the respective capital

contribution of each entity. Doc. 293-4, (Rembert Dep. Tr.), 43:10-45:13; Doc.

314-1 at p. 8 ¶¶ 4.1, 4.2.1-4.2.3; id. at pp. 30-31 (Exs. A & B)). Undisputed.

      128. The Operating Agreement required the members to make proportional

contributions to cover startup costs: BDH was required to contribute $2,906,195,

and ICIG was required to contribute $843,692. (Ex. 12, Monaghan Dep. Tr.

328:15-330:9; Doc. 314-1 at p. 30 (Ex. A); see id. at p. 8 ¶¶ 4.2.2.2, 4.2.3.1).

Undisputed.

      129. BDH and AMI paid for their respective interests by making capital

contributions in strict proportion to their ownership share, as specified in Exhibits

A and B to the Operating Agreement— with BDH paying $2,906,195 (77.5%) in

cash and equipment, and ICIG paying $843,692 (22.5%) in cash. Doc. 293-4,

(Rembert Dep. Tr.), 43:10-45:13; Doc. 314-1 at p. 30 (Ex. A); see id. at p. 8 ¶¶

4.2.2.2, 4.2.3.1). Disputed: Doc. 357-27 (Dep. Ex. 1); Doc. 105-2 (Dep. Ex. 9), p.

16; Doc. 160-8 (Dep. Ex. 34); Doc. 357-31 (Dep. Ex. 35); Doc. 297-4 (Dep. Ex.

153); Doc. 357-44 (Dep. Ex. 233); Ex. 8 (Dep. Ex. 277); Ex. 9 (Dep. Ex. 278);

Doc. 297-10 (Dep. Ex. 312).


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      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      130. BDH’s contribution consisted entirely of cash and equipment

contributions, and the value of the in-kind contributions of equipment from BDH

specified in Exhibit B to the Operating Agreement reflects the fair market value of

the corresponding equipment as determined by VMG in its final May 18, 2005

report. (Doc. 314-1 at p. 31 (Ex. B); Doc. 61-1 [Dep. Ex. 35] at pp. 29, 61).

Disputed: Doc. 357-27 (Dep. Ex. 1); Doc. 105-2 (Dep. Ex. 9), p. 3; Doc. 160-8

(Dep. Ex. 34); Doc. 357-31 (Dep. Ex. 35), p. 3; Doc. 297-4 (Dep. Ex. 153); Doc.

357-44 (Dep. Ex. 233); Ex. 8 (Dep. Ex. 277); Ex. 9 (Dep. Ex. 278); Doc. 297-10

(Dep. Ex. 312).




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      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      131. When Rembert signed the Operating Agreement on behalf of ICIG,

Rembert understood that BDH was to own 77.5% of AMI and ICIG was to own

22.5% of AMI. Doc. 293-4, (Rembert Dep. Tr.), 41:2-13; 81:6- 9). Undisputed.

      132. Rembert believed that equity division was legal, and he still believes it

is legal today. Doc. 293-4, (Rembert Dep. Tr.), 43:10-44:19, 80:19-81:14).

Disputed; Doc. 293-4 (Rembert Dep. Tr.), pp. 263:21-264:11; 243:19-244:25;

42:14-16; 230:19-231:17; and 232:17-233:1.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      133. In exchange for their respective ownership interests in AMI, the

contributions from BDH and ICIG to AMI were not based on projected revenue or

scan volume. (Ex. 15, Lange Dep. Tr. 70:19-71:17; Doc. 314-1 at 8 ¶¶ 4.2.2-4.2.3;

Doc. 314-1 at pp. 30-31 (Exs. A & B)). Disputed; Doc. 105-2 (Dep. Ex. 9), p.3;

Ex. 12 (Dep. Ex. 81), p. 3; Ex. 13 (Dep. Ex. 18), p. 3; Ex. 14 (Dep. Ex. 156), p. 3;

Doc. 357-31 (Dep. Ex. 35), p.3.; Doc. 362-18 (Liz Lewis Dep. Tr.), pp. 173:9-22,

176:5-182:2; Doc. 357-15 (Dep. Ex. 9).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.


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Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

                e. Distributions From AMI

      134. The Operating Agreement established that, generally, each member

would receive distributions of profit in proportion to their ownership interest. (Doc.

314-1 at p. 11 ¶¶ 5.1, 5.3). Undisputed.

      135. The distributions that BDH received from AMI were in exact

proportion to its ownership share. (Doc. 314-1 at p. 11 ¶ 5.1; Ex. 15, Lange Dep.

Tr. 152:12-153:14). Undisputed.

      136. When Rembert signed the Operating Agreement on behalf of ICIG,

Rembert understood that AMI would distribute any profits in proportion to the

parties’ ownership interests. Doc. 293-4, (Rembert Dep. Tr.), 86:7-10).

Undisputed.

      137. Rembert believed that was legal when he signed the Operating

Agreement, and he still thinks that is legal. Doc. 293-4, (Rembert Dep. Tr.), 86:11-

17). Disputed. Doc. 293-4 (Rembert Dep. Tr.) pp. 42:14-16; 263:21- 264:11;

243:19-244:25; 230:19-231:17; 232:17-233:1.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      138. Rembert believes that was “a reasonable and fair way” to allocate

profits. Doc. 293-4, (Rembert Dep. Tr.), 51:3-17). Undisputed.

                f. Other AMI Formation Documents

      139. When Rembert signed the Operating Agreement on behalf of ICIG, he

was aware that the parties were to enter into certain other agreements concurrently

with the Operating Agreement. Doc. 293-4, (Rembert Dep. Tr.), 51:18-58:10).

Undisputed.

      140. Rembert was aware of the terms of those other concurrent agreements,

which provided, inter alia, that ICR would provide all professional services to

AMI; ICR would manage and administer AMI; and AMI would lease non-

physician personnel from BDH. Doc. 293-4, (Rembert Dep. Tr.), 51:18-58:10).

Undisputed.

      141. Rembert knew when he signed the Operating Agreement that it called

for the parties to enter into those other agreements, and he personally favored




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entering into each of those agreements. Doc. 293-4, (Rembert Dep. Tr.), 58:3-9).

Undisputed.

      142. Rembert believed when he signed the Operating Agreement that those

other agreements were legal, and he still believes them to be legal today. Doc. 293-

4, (Rembert Dep. Tr.), 82:25-84:19). Undisputed.

                g. Representations and Warranties

      143. In signing the Operating Agreement, Rembert both personally and on

behalf of ICIG represented and warranted that the Operating Agreement and

AMI’s contemplated operation would comply with all laws and regulations that

pertained to its members, BDH and ICIG. Doc. 293-4, (Rembert Dep. Tr.), 74:8-

13; Doc. 314-1 at p. 26 ¶ 16.2(e)(i)). Undisputed.

      144. In signing the Operating Agreement, Rembert also certified on ICIG’s

behalf that the participants intended that the arrangement comply with the law,

including the AKS. (Doc. 314-1 at p. 6 ¶ 2.9; Doc. 293-4, Rembert Dep. Tr. 71:10-

72:10). Undisputed.

      145. As the ICIG representative who signed the Operating Agreement,

Rembert personally represented and warranted that neither the agreement nor the

formation of AMI conflicted with or violated any law, and he believed that

representation to be true. Doc. 293-4, (Rembert Dep. Tr.), 73:23-75:25; Doc. 314-1

at 26 ¶ 16.2). Undisputed.


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      146. In Section 2.9 of the Operating Agreement, both BDH and ICIG

warranted compliance with the federal AKS, specifically representing and

warranting that neither BDH nor ICIG had provided or received any remuneration

to induce the referral of Medicare or Medicaid items or services to anyone in

connection with AMI, including each other and AMI. (Doc. 314-1 at p. 6 ¶ 2.9).

Undisputed.

                h. Non-Competition Clause

      147. Section 12.2 of the Operating Agreement contains a reciprocal non-

competition provision. (Doc. 314-1 at p. 22 ¶ 12.2). Undisputed.

      148. Reciprocal non-competition agreements have no net value. (Ex. 14,

Endicott Dep. Tr. 262:17-263:9). Disputed. Doc. 362-11 (Garthwaite Dep. Tr.) pp.

177:24-178:1; 179:18-180:3.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.


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      149. Section 12.2 of the Operating Agreement expressly applies only to the

“members” of AMI, which is defined by the Operating Agreement to be BDH and

ICIG and future holders of membership interest; ICR is defined in the Operating

Agreement as “InterCity Radiology, PC,” is defined separately from ICIG, and is

identified as the “Manager.” (Doc. 314-1 at p. 3 ¶¶ 1.25-.26; id. at p. 4 ¶¶ 1.31-.32;

id. at p. 22 ¶ 12.2; Doc. 293-4, Rembert Dep. Tr. 58:10-60:11; Ex. 2, ICR 30(b)(6)

(Spear) Dep. Tr. 251:17-252:9; Ex. 5, BDH 30(b)(6) Dep. Tr. 217:21-218:9).

Disputed: Doc. 314-1 at p. 1, p. 2 ¶ 1.3, p. 22 ¶ 12.2: Ex. 15 (Dep. Ex. 21); Ex. 4

(Dep. Ex. 297); Doc. 304-1 (Dep. Ex. 298); Doc. 336-2 (Dep. Ex. 299); Doc. 336-3

(Dep. Ex. 300).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).


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      150. Section 12.2 of the Operating Agreement does not apply to ICR or to

the individual radiologist members of ICR. (Doc. 314-1 at p. 22 ¶ 12.2; Doc. 293-

4, Rembert Dep. Tr. 58:10-60:11; Ex. 2, ICR 30(b)(6) (Spear) Dep. Tr. 251:17-

252:9; Ex. 5, BDH 30(b)(6) Dep. Tr. 217:21-218:9). Disputed: Doc. 314-1 at p. 1,

p. 2 ¶ 1.3, p. 22 ¶ 12.2; Ex. 15 (Dep. Ex. 21); Ex. 4 (Dep. Ex. 297); Doc. 304-1

(Dep. Ex. 298); Doc. 336-2 (Dep. Ex. 299); Doc. 336-3 (Dep. Ex. 300).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      151. When he signed the Operating Agreement on behalf of ICIG, Rembert

believed that the formation of AMI complied with the law, including the AKS.

Doc. 293-4, (Rembert Dep. Tr.), 75:11-25, 76:25-77:3). Undisputed.




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      152. When he signed the Operating Agreement on behalf of ICIG, Rembert

did not believe that anyone was paying or receiving kickbacks in connection with

AMI—not ICIG, not ICR, not the radiologists, and not BDH. Doc. 293-4,

(Rembert Dep. Tr.), 71:10-72:21). Undisputed.

      153. Rembert believed that no person involved in the formation of AMI

intended to pay a kickback in connection with the formation of AMI; if he had

thought that, he would not have signed the Operating Agreement. Doc. 293-4,

(Rembert Dep. Tr.), 70:8-23, 71:10-72:21). Undisputed.

      154. After the formation of AMI, Rembert purchased his interest in ICIG

for approximately $120,000. Doc. 293-4, (Rembert Dep. Tr.), 87:2-9). Undisputed.

      155. At the time he purchased his interest in ICIG, Rembert did not think

he was putting his money into an illegal venture or a venture that paid kickbacks.

Doc. 293-4, (Rembert Dep. Tr.), 87:22-88:2). Undisputed.

E.    2006-Present: AMI Operations

      156. As built, the AMI facility was “nice and appropriate,” it provided a

“good patient experience,” and it was a “good work environment” for the

radiologists. Doc. 293-4, (Rembert Dep. Tr.), 49:24-50:11). Undisputed.

      157. Referrals for radiology services performed at BDH and AMI come

from a patient’s treating physician. Doc. 293-4, (Rembert Dep. Tr.), 191:6-192:23,

194:1-17). Undisputed.


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      158. AMI and BDH use a centralized scheduling department to handle

patient appointments. (Ex. 19, Funk Dep. Tr. 72:7-23; Ex. 5, BDH 30(b)(6) Dep.

Tr. 253:2-254-3; Ex. 8, Kaufman Dep. Tr. 201:12-21; Ex. 20, Rinkle Dep. Tr.

223:3-24). Undisputed.

      159. Centralized scheduling for imaging centers affiliated with hospital-

based health systems is an increasingly common practice. (Ex. 20, Rinkle Dep. Tr.

152:11-17, 156:5-23; Ex. 8, Kaufman Dep. Tr. 202:2-5, 207:21-208:16). Disputed.

Doc. 362-13 (Greeson Dep. Tr.), pp. 79-87; Doc. 362-20 (Rinkle Dep. Tr.) pp.

153:14–154:16; 172:9–24; 168:3–9; 229:23– 230:15; 156:13–19; 158:2–8;

163:2–21; 205–206:2 and 210:2–211:15; 163:2–8. See Doc. 362-8 (Kaufman Dep.

Tr.) pp. 201:2–215:7; 203:12–15; 203:21–204:1; 204:5–7.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.




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      160. Centralized scheduling for imaging is an industry best practice for

patient and physician convenience. (Ex. 20, Rinkle Dep. Tr. 223:3-9). Disputed.

Doc. 362-13 (Greeson Dep. Tr.), pp. 79-87; Doc. 362-20 (Rinkle Dep. Tr.) pp.

153:14–154:16; 172:9–24; 168:3–9; 229:23–230:15; 156:13– 19; 158:2–8;

163:2–21; 205–206:2 and 210:2–211:15; 163:2–8. See Doc. 362-8 (Kaufman Dep.

Tr.) pp. 201:2–215:7; 203:12–15; 203:21–204:1; 204:5–7.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      161. AMI has leased schedulers from BDH on a part-time, 50% basis from

2006 through at 2017. (Ex. 19, Funk Dep. Tr. 65:19-67:14). Disputed. Doc. 105-13

(Dep. Ex. 62).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(1)(B) (failure to provide pinpoint cites).

      162. AMI’s schedulers are managed by AMI’s director. (Ex. 19, Funk Dep.

Tr. 99:24-100:9). Disputed; Doc. 362-19 (Courtney Funk Dep. Tr.), pp. 98:24-

99:8; 100:7-11.100:6-25; 101:1-8; Doc. 362-21 (Calkins Dep. Tr.) pp. 16:11-20;

17:1-3; 17:10-16.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

      163. The scheduling supervisor is managed by AMI’s director. (Ex. 21,

Calkins Dep. Tr. 13:3-12, 16:7-18). Disputed. Doc. 362-21 (Calkins Dep. Tr.) pp.

16:11-20; 17:1-3; 17:10-16; Doc. 362-19 (Courtney Funk Dep. Tr.), pp. 100:6-25;

101:1-8.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

      164. The Employee Lease Agreement between BDH and AMI provides in

part at subsection 9(A) that “For these purposes, the parties agree that, to the


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maximum extent permissible under applicable law, the Leased Employees shall be

subject to the supervision and control of LLC [AMI].” (Doc. 105-13 [Dep. Ex. 62]

at p. 4 ¶ 9(A)). Undisputed.

      165. The Employee Lease Agreement between BDH and AMI provides in

part at subsection 9(C) that

             . . . LLC [AMI] shall be the employer of the Leased
             Employees for the following purposes:

             (i)   evaluating and disciplining the Leased Employees
             ...

             (ii) determination of policies and procedures to be
             followed by the Leased Employees in providing services
             to LLC [AMI]. . .

(Doc. 105-13 [Dep. Ex. 62] at p. 5 ¶ 9(C)). Undisputed.

      166. The Employee Lease Agreement between BDH and AMI provides in

part at subsection 9(F) that “With respect to the Part-Time Leased Employees, the

foregoing provision of subsections 9.A through 9.C shall apply only during those

periods that such employees are leased to LLC [AMI] hereunder.” (Doc. 105-13

[Dep. Ex. 62] at p. 5 ¶ 9(F)). Undisputed.

      167.



                                                             Ex. 21, Calkins Dep. Tr.

46:9-22, 46:23-49:17, 60:22-61:14; see also id. at 34:1-40:18; Ex. 6, Spear Dep.


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Tr. 110:20-25, 135:25-136:16). Disputed. Ex. 16 (Dep. Ex. 99); Ex. 17 (Dep. Ex.

100); Doc. 362-21 (Calkins Dep. Tr.) pp. 60:6-12; 60:16-24, 96:10-14.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      168. Rembert does not have any reason to think that the schedulers for

AMI and BDH were told that there was a cap or limit on the number of MRI exams

that could be performed at AMI. Doc. 293-4, (Rembert Dep. Tr.), 153:22-25).

Disputed. Doc. 293-4 (Rembert Dep. Tr.), p. 153:1-6.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited




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evidence is not probative or is otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1),

(e); see also T.W. Elec. Serv., 809 F.2d at 630.

      169.

                                                             Ex.21, Calkins Dep. Tr.

46:9-22, 46:23-49:17, 60:22-61:14; see also id. at 34:1-40:18; Ex. 6, Spear Dep.

Tr. 47:1-5, 47:17-24, 118:12-18, 127:4-5, 148:12-13). Disputed: Doc. 357-37

(Dep. Ex. 119); Ex. 18 (Dep. Ex. 157); Ex. 19 (Dep. Ex. 162); Ex. 20 (Dep. Ex.

320); Ex. 21 (Dep. Ex. 321).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      170.

                                                             Ex. 21, Calkins Dep. Tr.


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46:9-22, 46:23-49:17, 60:22-61:14; see also id. at 34:1-40:18; Ex. 6, Spear Dep.

Tr. 47:1-5, 47:17-24, 118:12-18, 127:4-5, 148:12-13). Disputed: Doc. 357-37

(Dep. Ex. 119); Ex. 18 (Dep. Ex. 157); Ex. 19 (Dep. Ex. 162); Ex. 20 (Dep. Ex.

320); Ex. 21 (Dep. Ex. 321).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      171. No directive from hospital or AMI management ever set a quota or

limit on the number of CT scans that could be performed at AMI. (Ex. 22 AMI

30(b)(6) Dep. Tr. 96:17-98:4, 98:17-22 (“There was never a number that AMI

could not exceed”; “[T]here is no restriction on AMI in any particular day, month,

number”; “There is not a set number that can be performed at AMI”;

“Operationally at AMI, there has not been a limit on CT at AMI.”)). Disputed.

Doc. 357-27 (Dep. Ex. 1); Doc. 357-25 (Dep. Ex. 31); Doc. 357-32 (Dep. Ex. 71);


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Doc. 357-33 (Dep. Ex. 72); Doc. 357-34 (Dep. Ex. 73); Doc. 357-44 (Dep. Ex.

233); Ex. 8 (Dep. Ex. 277); Ex. 9 (Dep. Ex. 278); Doc. 297-10 (Dep. Ex. 312).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      172. Rembert is not aware of any directive from BDH or AMI management

setting a quota or limiting the number of available slots for any scan modality to be

performed at AMI. Doc. 293-4, (Rembert Dep. Tr.), 174:6-17). Undisputed.

      173. ICR is a so-called “lifestyle practice” where the radiologists protect

their time off. Doc. 293-4, (Rembert Dep. Tr.), 26:13-17). Undisputed.

      174. Rembert never thought about or complained that BDH was limiting

the hours of operation at AMI. Doc. 293-4, (Rembert Dep. Tr.), 170:11-20).

Undisputed.


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      175. Rembert does not remember if BDH ever rejected a proposal for

longer hours at AMI. Doc. 293-4, (Rembert Dep. Tr.), 173:14-16). Undisputed.

      176. BDH has not restricted AMI’s hours of operation. (Ex. 19, Funk Dep.

Tr. 50:20-22). Disputed. Doc. 353-5 (Paradise Dep. Tr.) pp. 207:11- 210:17);

Doc. 357-20 (Dep. Ex. 19); Doc. 105-8 (Dep. Ex. 24); Doc. 192-1 (Dep. Ex. 27);

Doc. 357-38 (Dep. Ex. 164); Ex. 22 (Dep. Ex. 242).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      177. AMI offers expanded hours of operation for MRI services. (Ex. 19,

Funk Dep. Tr. 61:9-16). Undisputed.

      178. AMI offers expanded hours of operation for women’s imaging,

mammography, and DEXA services. (Ex. 19, Funk Dep. Tr. 55:3-17). Undisputed.




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      179. Rembert has no knowledge that BDH ever imposed a limit on the staff

at AMI. Doc. 293-4, (Rembert Dep. Tr.), 171:20-172:18). Disputed. Doc. 293-4

(Rembert Dep. Tr.), p. 171:3-5.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence is not probative or is otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1),

(e); see also T.W. Elec. Serv., 809 F.2d at 630.

      180. Cindy Carter is the breast care navigator for AMI. (Ex. 22, AMI

30(b)(6) Dep. Tr. 226:20-24). Disputed: Ex. 23 (Dep. Ex. 227); Doc. 362-22 (AMI

30(b)(6) Dep. Tr.), p. 17:12-14.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,




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809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2).

      181. Cindy Carter’s role was to provide AMI patients with clinical

services, provide breast cancer diagnostic information, and assist breast cancer

patients with discharge planning and care coordination. Ms. Carter’s discharge

planning role did not limit recommended patient options to BDH- provided

services or providers. (Ex. 22, AMI 30(b)(6) Dep. Tr. 227:14- 228:18, 245:6-

246:21). Disputed: Ex. 23 (Dep. Ex. 227); Doc. 362-22 (AMI 30(b)(6) Dep. Tr.), p.

17:12-14.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2).




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      182. All capital requests for new equipment made to the AMI Operating

Committee were approved, although one was delayed. (Ex. 23, Ennis Dep. Tr.

138:15-139:1). Undisputed.

      183. The initial approved 2006 budget created for AMI was drafted by

David Monaghan. In it, the approved budget estimated volume at 428 scans per

month or over 5,100 scans for the year. AMI used actual performance of CT scans

as the baseline estimate for the 2007 budget and budgets thereafter, not a set

allocation of CT scans between AMI and BDH. (Ex. 19, Funk Dep. Tr. 174:15-

176:22, 179:11-180:13; Ex. 22, AMI 30(b)(6) Dep. Tr. 108:7-22, 109:1-110:5,

113:1-9, 115:23-116:4). Disputed. Doc. 362-19 (Funk Dep. Tr.), pp. 176:25-

177:12; 178:1-4. Doc. 357-32 (Dep. Ex. 71); Doc. 357-33(Dep. Ex. 72); Doc. 357-

34 (Dep. Ex. 73); Doc. 357-36 (Dep. Ex. 190); Ex. 52 (Dep. Ex. 191).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,




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809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      184. The VMG Final Report with a distribution date of May 18, 2005,

assumed that the volume of CT scans performed by AMI would grow at an annual

rate of 3%. (Doc. 61-1 [Dep. Ex. 35] at p. at 52 (A-3)). Undisputed.

      185.




(Ex. 27 [Dep. Ex. 198] (AMI Statistics 2004 - June 2016) at p. 1). Undisputed.

      186.




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(Ex. 27 [Dep. Ex. 198] at p. 1; Dep. Ex. 35 at p. 51 (A-2)). Undisputed.

      187.


                                                :




(Ex. 27 [Dep. Ex. 198] at p. 1). Undisputed.

F.    Radiology Services Agreement

      188. Starting in 2003, about two years before AMI opened, BDH has been

party to an exclusive Professional Services Agreement for Radiology Services with

ICR (“2003 PSA”) to staff the hospital radiology department. (Doc. 61-4).

Undisputed.

      189. In the 2003 PSA and its subsequent iterations, ICR was required to

appoint the chair of the BDH Radiology Committee because there are no other

radiologists who are eligible to select a chair or serve in that capacity. (Doc. 61-4

at p. 4 ¶ 2.5; Ex. 28, Lewis Aff. ¶ 11). Undisputed.

      190. The chair of the Radiology Committee is an administrative position

whose scope of responsibilities is substantially less than that of a medical

directorship. As required by the 2003 PSA in each of its iterations, the position

requires that the chair serve as a liaison with BDH and make reasonable efforts to

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attend appropriate meetings as long as they do not interfere with patient care. (Doc.

61-4 at p. 4 ¶ 2.5; Ex. 28, Lewis Aff. ¶ 11). Undisputed.

      191. At BDH, members of the medical staff serve as chairs of the hospital

departments and committees on a rotating basis as part of their medical staff

membership responsibilities. All such positions are not paid. BDH and ICR have

not contracted for ICR or its radiologists to provide any chair services beyond

those memorialized in the 2003 PSA (section 2.5) for the BDH radiology service.

(Ex. 28, Lewis Aff. ¶ 11; see Doc. 61-4). Undisputed.

      192. During the term of the 2003 PSA in each of its iterations, at no point

has ICR been contracted to provide, or provided, service as the medical director at

BDH’s hospital radiology service. (Ex. 28, Lewis Aff. ¶ 11; see Doc. 61-4).

      RESPONSE: Relators did not provide a response to SUF 192. The Court

may consider SUF 192 to be undisputed for purposes of this motion. See Fed. R.

Civ. P. 56(e)(2).

      193. ICR did not contract to, and did not provide services beyond typical

chair services for the hospital radiology committee, and ICR never provided

medical directorship services for BDH’s diagnostic imaging service. (Ex. 28,

Lewis Aff. ¶ 11; see Doc. 61-4).




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      RESPONSE: Relators did not provide a response to SUF 193. The Court

may consider SUF 193 to be undisputed for purposes of this motion. See Fed. R.

Civ. P. 56(e)(2).

      194. Rembert was in favor of ICR entering into 2003 PSA with BDH

because he believed it was “a great idea” and “the right thing to do,” and Relator

Rembert was in favor the agreement being exclusive to ICR. (Ex. 24, Deposition of

Frank Rembert, dated June 1, 2016, Tr. 52:22-55:5). Disputed. Doc. 362-24

(Rembert Dep. Tr.), p. 54:8-23.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      195. BDH entered into an exclusive contract with ICR in 2003 because the

exclusive arrangement helped to provide the best care for the community as

radiologists understand imaging and could help the hospital efficiently run the

radiology department. (Ex. 5, BDH 30(b)(6) Dep. Tr. 59:19-61:11). Disputed. Doc.


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61-4 at p. 6 ¶ 2.18; Doc. 359-2 (Dep. Ex. 290 Filed Under Seal) Doc. 362-2 (Rex

Spear ICR 30(b)(6) Dep. Tr.), pp. 49:6-15, 50:10-15.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630. Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

      196. The 2003 PSA was not related to ICR’s interest in opening an imaging

center. (Ex. 2, ICR 30(b)(6) (Spear) Dep. Tr. 53:15-19; Ex. 5, BDH 30(b)(6) Dep.

Tr. 61:12-17). Disputed. Doc. 362-2 (Rex Spear ICR 30(b)(6) Dep. Tr.), p. 50:10-

15.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.


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See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,

809 F.2d at 630.

      197. The 2003 PSA did not prohibit ICR from opening its own outpatient

imaging center. The Exclusive Agreement contains the following provision entitled

“Joint Venture Operations”:

             Under the terms of this agreement, [ICR is] forbidden
             from participating in joint venture operations for the
             technical component of any imaging venture, within a
             50-mile radius of Bozeman, MT, and/or in Gallatin
             County unless the Hospital participates and/or gives
             written permission for [ICR] to participate in such
             venture. The Radiologists are authorized to solicit and
             perform services under agreements to provide
             professional interpretations of Radiology and Imaging
             Services at any health care facility, physician office
             and/or clinic within this 50-mile area, and Radiologists
             may bill and collect professional fees for such services.

(Doc. 61-4 at p. 6 ¶ 2.18; Ex. 13, Greeson Dep. Tr. 316:17-318:22). Disputed. Doc.

61-4 at p. 5 ¶ 2.18.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631.

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      198. On March 10, 2009, ICR and BDH entered into a new radiology

services agreement (“2009 PSA”). (See Ex. 25 (Exclusive Professional Services

Agreement for Radiology Services Extension, dated January 1, 2009)). Disputed.

See Doc. 362-25; Doc. 388-2 (Dep. Ex. 65).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

      199. The 2009 PSA did not contain any provision prohibiting ICR from

competing with BDH. (See Ex. 25). Undisputed.

      200. Other than the noncompetition clauses contained in the 2003 PSA and

the AMI Operating Agreement, there are no other non-competition agreements

between or among BDH, AMI, ICR and ICIG. Disputed. Doc. 357-27 (Dep. Ex. 1).

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported dispute relies on unreasonable inferences contrary to undisputed facts.

See T.W. Elec. Serv., 809 F.2d at 631. Cited evidence is not probative or is

otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1), (e); see also T.W. Elec. Serv.,


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809 F.2d at 630. Purported dispute relies on inadmissible evidence. See Fed. R.

Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(1)(B) (failure to

provide pinpoint cites).

III.   Government Investigation and Payment

       201. Relators’ First Amended Complaint encompasses all claims for

payment for outpatient imaging services submitted by AMI and BDH up to the

present, including since the filing of the complaint. (Doc. 105 at p. 50 ¶ 160

(“[E]very claim submitted by AMI is false as a matter of law. . . . [E]very claim for

outpatient imaging services submitted by BDH is false as a matter of law.”)).

Undisputed.

       202. When Relators filed this action under seal on December 11, 2015,

they contemporaneously served the Complaint and supporting evidence on the

United States and the State of Montana. (Doc. 1 at p. 6 ¶ 12; Doc. 105 at p. 6 ¶ 12).

Undisputed.

       203. On April 8, 2016, the Office of the Inspector General for the United

States Department of Health and Human Services (“HHS”) served document

subpoenas on BDH and AMI, requesting from each extensive documentation

related to the allegations in Relators’ complaint. (Ex. 28, Lewis Aff. ¶ 4 & Ex. A

(OIG Subpoena Duces Tecum to BDH); Ex. 30, Affidavit of Courtney (“Funk

Aff.”) ¶ 3 & Ex. A (OIG Subpoena Duces Tecum to AMI)). Undisputed.


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      204. An HHS agent met with and interviewed both Relators. Doc. 293-4,

(Rembert Dep. Tr.), 255:13-257:8; Doc. 353-27, Paradise Dep. Tr. 128:22-129:16;

see Ex. 26 (Relators’ Privilege Log) (referring to correspondence and meetings

with “representatives of the United States,” including Assistant United States

Attorney Meghan Dishong and HHS Special Agent Kelsi Larsen)). Undisputed.

      205. After conducting its investigation, on August 28, 2016, the United

States gave notice that it was not intervening in this action. (Doc. 48). Undisputed.

      206. On March 18, 2016 and October 20, 2016, the State of Montana

provided notice that it declined to intervene in the case. (Doc. 53; see Docs. 7, 52).

Undisputed.

      207. Since the date the Relators filed their complaint and provided

supporting information to the government, BDH and AMI have submitted

hundreds of Medicare and Medicaid claims for payment for radiology services to

HHS and the State of Montana. (Ex. 28, Lewis Aff. ¶¶ 5-6; Ex. 30, Funk Aff. ¶¶ 4-

5). Undisputed.

      208. HHS and Montana have paid those claims and have not signaled any

change in position with respect to those claims. (Ex. 28, Lewis Aff. ¶¶ 5-7; Ex. 30,

Funk Aff. ¶¶ 4-6). Undisputed.




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      209. Neither HHS nor the State of Montana has implemented any

administrative sanctions against BDH or AMI. (Ex. 28, Lewis Aff. ¶¶ 7-10; Ex. 30,

Funk Aff. ¶¶ 6-9). Undisputed.

IV.   Legality of AMI

      210. Rembert does not believe that any of the participants intended to

violate the AKS: “I don’t think that anybody intended to violate the kickback

statute.” Doc. 293-4, (Rembert Dep. Tr.), 70:8-23). Disputed. Rembert Dep. Tr.

281:3-13.

      RESPONSE: Cited evidence does not create a genuine dispute of material

fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence is not probative or is otherwise irrelevant. See Fed. R. Civ. P. 56(c)(1),

(e); see also T.W. Elec. Serv., 809 F.2d at 630.

      211. Rembert today cannot identify a single person at BDH, ICR, or AMI

who knowingly and willfully paid or received a kickback:

             Q.     Who at AMI are you saying knowingly and
             willfully paid or accepted a kickback?

             A.     I don’t think there was an individual person who
             did that.

             Q.    So no individual person at AMI did that, correct?


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            A.    Not that I know of.

                                      *****

            Q.     Who at BDH knowingly and willfully received or
            paid a kickback? . . .

            A.    I don’t know of a distinct person.

            Q.   So you can’t point to anybody at BDH who
            knowingly and willingly received a kickback. Is that fair?

            A.    Yes.

            Q.   How about ICR? Did anybody at ICR knowingly
            and willfully receive a kickback or pay a kickback, either
            one?

            A.    Again, no individual that I can --

Doc. 293-4, (Rembert Dep. Tr.), 108:11-110:15). Undisputed.

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          RESPONSE TO STATEMENT OF ADDITIONAL FACTS

I.    Background.

      212. A radiologist must be a shareholder in ICR in order to be a member in

ICIG. Doc. 105-11, p. 1; Doc. 362-2 (Rex Spear ICR 30(b)(6) Dep. Tr.), pp. 42:24-

43:14; 45:2-8.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      213. AMI is a joint venture imaging center located on the campus of

Bozeman Deaconess Hospital, downstairs from the BDH radiology department.

Ex. 3 (Davidson Dep. Tr.), p. 26:14-27:22; Doc. 362-19 (Funk Dep. Tr.), p. 42:10-

21.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

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Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      214. AMI does not have any employees. Doc. 362-22 (AMI 30(b)(6) Dep.

Tr.), p. 17:12-14.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      215. AMI leases its employees from BDH. See generally, Doc. 105- 13

(Dep. Ex. 62).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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         216. The Employee Lease Agreement does not list what employees are

leased by AMI. Doc. 362-22 (AMI 30(b)(6) Dep. Tr.), 69:17-20; Doc. 105-12

(Dep. Ex. 289), p. 6 §5.2; Doc. 105-13 (Dep. Ex. 62), p. 11.

         RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

         217. Both BDH and AMI perform outpatient MR scans. Doc. 362-22 (AMI

30(b)(6) Dep. Tr.), 58:16-62:13; Doc. 362-5 (BDH 30(b)(6) Dep. Tr.), pp. 252:21-

253:1.

         RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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       218. Both BDH and AMI perform outpatient CT scans. Doc. 362-22 (AMI

30(b)(6) Dep. Tr.), p. 58:16-62:13; Doc. 362-5 (BDH 30(b)(6) Dep. Tr.), pp.

252:21-253:1.

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

       219. For most of the life of AMI, BDH and AMI were the only facilities

Bozeman that offered CT scans and high field strength MR. Doc. 357-1 (Dep. Ex.

49).

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not support purported fact or inferences. See Fed. R. Civ. P.

56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Cited evidence does not

comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites). Purported facts or




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inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

II.   BDH used its ability to direct referrals to prevent competition and
      obtain a majority interest in AMI.

      220.

                                                                                 Doc. 357-1

(Dep. Ex. 49), p. 3; Doc. 190-13 (Dep. Ex. 51), p. 3; Ex. 24 (Dep. Ex. 292); Doc.

362-2 (Rex Spear ICR 30(b)(6) Dep. Tr.), pp. 86:21-87:1, 88:8-14.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Cited evidence does not

comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites). Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      221.

                    Doc. 357-1 (Dep. Ex. 49), p. 3; Doc. 364-1 (Dep. Ex. 223), p.

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1; Doc. 359-2 (Dep. Ex. 290), p. 1 ¶ 2; Doc. 293-4 (Rembert Dep. Tr.), pp. 183:9-

16, 188:21-23.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Cited evidence does not

comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites). Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      222.                                                                     Ex. 2 (Dep.

Ex. 291); ICR 30(b)(6) Dep. Tr. 80:21-81:14.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). See

Fed. R. Civ. P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(2)(B)



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(failure to provide pinpoint cites). Purported facts or inferences are immaterial. See

T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      223. In 2002, ICR offered BDH the opportunity to participate in an

outpatient imaging center joint venture on a 50-50 basis. Doc. 190-13 (Dep. Ex.

51), p. 2; ICR 30(b)(6) Dep. Tr. Spear 133:21-134:12.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      224. AGI calculated the projected 15-year net revenue of the imaging

center based upon projected patient volumes for MR. Doc. 190-13 (Dep. Ex. 51),

p. 4; ICR 30(b)(6) Dep. Tr. Spear 138:24-139:13.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      225. AGI calculated the 15-year pre-tax cash flow of the proposed imaging

center to be $11.4 million. Doc. 190-13 (Dep. Ex. 51), p. 4; ICR 30(b)(6) Dep. Tr.

Spear 106:11-18.

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      226.




                      Doc. 105-3 (Dep. Ex. 1); Doc. 359-2 (Dep. Ex. 290); Doc.

359-3 (Dep. Ex. 293).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.



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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences rely on inadmissible evidence. See Fed. R. Civ. P. 56(c)(2). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      227.




                                                                                Doc. 359-2

(Dep. Ex. 290), p.1, ¶ 2d.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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      228. In 2003, BDH signed an exclusive contract with ICR that states that:

“the Radiologists are forbidden from participating in joint venture operations for

the technical component of any imaging joint venture within a 50-mile radius of

Bozeman, MT, and/or in Gallatin County unless the Hospital participates and/or

gives written permission for the radiologists to participate in such joint venture.”

Doc. 357-3 (Dep. Ex. 64), p. 5.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      229. The 2009 exclusive contract between BDH and ICR, entered after the

formation of AMI, did not contain a covenant not to compete. See generally, Doc.

390-1 (Dep. Ex. 65).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

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Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      230. The AMI Operating Agreement contains a covenant not to compete.

Doc. 357-10 (Dep. Ex. 41), p. 22, ¶ 12.2; Doc. 362-13 (Greeson Dep. Tr.) pp.

279:19-280:2.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      231.

                   Doc. 359-3 (Dep. Ex. 293).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

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      232.




      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      233.

                                                              Compare Doc. 190-13

(Dep. Ex. 51), p. 4 with Doc. 359-3 (Dep. Ex. 293), p. 1.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

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Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      234.

                                                                 Compare Doc. 190-13

(Dep. Ex. 51), p. 4 with Doc. 359-3 (Dep. Ex. 293), p. 1.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      235. For example, without hospital involvement, AGI projected the number

of MR scans at the imaging center to be 6 scans per day for the “base case”

scenario. Doc. 190-13 (Dep. Ex. 51), p. 14.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

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631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      236.




                         Doc. 359-3 (Dep. Ex. 293), p. 7 (Attachment C).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      237. It was understood that if ICR went ahead with the joint venture with

BDH, the referrals would come from BDH to the joint venture. Doc. 293-4

(Rembert Dep. Tr.), pp. 263:21-264:11; 243:19-244:25.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).



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Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

         238. BDH and ICR reached a preliminary agreement on ownership

percentages in the joint venture around June of 2004. Doc. 297-4 (Dep. Ex. 153),

p. 1.

         RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Cited evidence does not

comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites). Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

         239.

                Doc. 105-3 (Dep. Ex. 1), p. 1; Ex. 25 (Dep. Ex. 294).

         RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

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Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences rely on inadmissible evidence. See Fed. R. Civ. P. 56(c)(2). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      240. Intercity Investment Group, LLC (“ICIG”) did not exist at that time.

Doc. 362-3 (Dep. Ex. 63), pp. 1-2 ¶¶ 1.1, 1.3; Doc. 105 (First Amend. Complaint),

p. 7 ¶ 15; Doc. 362-4.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      241. ICIG was incorporated on Nov. 12, 2004. Doc. 362-4.




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      242. All the shareholders in ICR were members in ICIG. Doc. 362-2 (Rex

Spear ICR 30(b)(6) Dep. Tr.), pp. 42:24-43:14; 45:2-8.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      243. Ownership percentages have a significant effect on the amount of

distributions that BDH and ICR would receive from the joint venture. Doc. 362-9

(Nordwick Dep. Tr.), pp. 98:19-99:14.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      244.




                           Doc. 357-1 (Dep. Ex. 49), p. 3; Doc. 359-3 (Dep. Ex.

293); Doc. 297-4 (Dep. Ex. 153), p. 1; Ex. 26, Dep. Ex. 154.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Cited evidence does not

comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites). Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      245. BDH could not explain how the parties arrived at that ownership split.

Doc. 362-5 (BDH 30(b)(6) Dep. Tr.), p. 107:1-8.



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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      246. Liz Lewis, the 30(b)(6) designee testified that the extent of BDH’s

knowledge of ownership percentages is “that John Nordwick said we wanted 77

and a half and, in essence, that’s what we got.” Doc. 362-5 (BDH 30(b)(6) Dep.

Tr.), pp. 107:1-5.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      247. BDH claimed it did not know whether anyone performed any type of

financial projections to calculate that number. Doc. 362-5 (BDH 30(b)(6) Dep.

Tr.), p. 107:9-12.




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      248. BDH testified that no one other than John Nordwick would know

where the ownership percentages came from. Doc. 362-5 (BDH 30(b)(6) Dep. Tr.),

p. 107:15-18.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      249. John Nordwick testified, however, that he did not know how that

figure was determined. Doc. 362-9 (Nordwick Dep. Tr.), p. 96:22-25.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      250. He testified that Liz Lewis was involved in negotiating ownership

percentages. Doc. 362-9 (Nordwick Dep. Tr.), p. 97:1-17.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      251. Nordwick testified that hospital ownership would only have to be 51%

for tax purposes. Doc. 362-9 (Nordwick Dep. Tr.), p. 100:5-12.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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      252. In the other six joint ventures in which BDH is involved, its

ownership percentage ranges from “less than 1%” to “51.01%.” See Ex. 11 (2013

email from Scott Thorn to Gordon Davidson Bozeman_0035245). Indeed, Liz

Lewis earlier explained to the BDH Finance Committee that “hospitals generally

have much less ownership in joint venture ambulatory surgery centers than we do.”

Ex. 27 (Board Meeting Minutes from Oct. 2008, Bozeman_0140422).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      253. He agreed that 77.5% was an “odd” ownership percentage and could

not explain how BDH arrived at that number. Doc. 362-9 (Nordwick Dep. Tr.), p.

94:7-21.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).




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Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

        254. In June of 2004, when BDH and ICR reached a preliminary agreement

on ownership percentages, there were already calculations showing the money that

each party would receive based on their share of projected profits of the joint

venture. Doc. 297-4 (Dep. Ex. 153), p. 5; Ex. 26, Dep. Ex. 154; Doc. 357-14 (Dep.

Ex. 311).

        RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

III.    During negotiations, BDH and ICR discussed how to designate AMI to
        maximize reimbursement from Medicare.

        255. The same medical procedure can cost a different amount based on the

place of service. Doc. 357-12 (Dep. Ex. 4); Doc. 382-1 (Dep. Ex. 5); and Doc. 233-

3 (Miller report) pp. 3-4.

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       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

       256. For example, a MR scan that occurs at BDH may be reimbursed by

Medicare at a different amount than that exact same MR scan if it is performed at

AMI. Doc. 357-12 (Dep. Ex. 4); Doc. 382-1 (Dep. Ex. 5); Doc. 233-3 (Miller

report), p. 8.

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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      257. When ICR hired AGI to evaluate the feasibility of the joint venture,

AGI observed this “payment gap” between Medicare payments at hospitals and

independent imaging centers. Doc. 357-1 (Dep. Ex. 49), pp. 11-12.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      258. In Autumn 2004, BDH and ICR conducted a reimbursement analysis

to determine how to designate AMI in order to maximize reimbursement from

Medicare and Medicaid. Doc. 382-3 (Dep. Ex. 2), p. 2 (“Don to get Dave a listing

of imaging center CPT codes and volumes for use in reimbursement analysis”).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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      259. Liz Lewis requested that Dave Monaghan conduct the analysis

comparing Medicare reimbursement. Doc. 357-12 (Dep. Ex. 4).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      260. The outcome of the analysis was a key determinate in determining

how the center was designated. Doc. 382-3 (Dep. Ex. 2); Doc. 357-12 (Dep. Ex. 4).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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      261. After conducting an initial reimbursement analysis, Monaghan

conducted a more refined analysis based on the projected hospital outpatient

volumes that would move from BDH to AMI. Doc. 382-1 (Dep. Ex. 5).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to provide

pinpoint cites). Purported facts or inferences are immaterial. See T.W. Elec. Serv.,

809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      262. The draft and final analysis indicated that designating AMI as a

physician clinic, as opposed to a provider-based clinic, would result in greater

overall reimbursement charges from Medicare. Doc. 357-12 (Dep. Ex. 4); Doc.

382-1 (Dep. Ex. 5); Doc. 105-5 (Dep. Ex. 8).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).


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Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

       263. BDH designated the center as a physician clinic. Ex. 28, (Dep. Ex. 3).

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

       264. Another health care facility affiliated with BDH, in the same building

as AMI on the hospital campus, is designated as a provider-based clinic. Doc. 362-

20 (Rinkle Dep. Tr.), pp. 90:20-91:15.

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

IV.    BDH valued the patient exams it intended to contribute to AMI.


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      265. BDH did not need to partner with ICR to provide outpatient imaging

services. Ex. 3 (Davidson Dep. Tr.), p. 26:14-27:22, 40:23-41:1; Doc. 362-5 (BDH

30(b)(6) Dep. Tr.), p. 97:3-5.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      266. BDH partnered with ICR to avoid competition for outpatient imaging

services. A PowerPoint presentation provided by Gordon Davidson at a meeting of

the BDH finance committee in June of 2004 states:




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Doc. 297-4 (Dep. Ex. 153), p. 3; Doc. 235-1 (Reisman Report), p. 15 (entry for

Bozeman_0057702, showing Gordon Davidson as the custodian and author and a

last modified date of June 13, 2004).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      267. The meeting minutes from the BDH finance committee from June

2004 state in part:

             The hospital would be credited for the value of business
             transferred with the cost of the valuation being
             $20,000…The pros of the joint venture would be an
             alignment with the radiologists that would reduce the
             possibility of future competition and the giving up of part
             of the business is better than giving up more.

Doc. 357-14 (Dep. Ex. 311).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

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Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      268. In autumn 2004, BDH hired a Texas-based valuation company, VMG,

to conduct the referenced valuation of the imaging business that BDH intended to

contribute to the joint venture. Doc. 105-2 (Dep. Ex. 9), p. 3.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      269. BDH provided VMG with estimates of the number of patient exams

that it intended to contribute to the joint venture. Ex. 29 (Dep. Ex. 155); Doc. 386-

3 (VMG Dep. Tr.), pp. 132:24-133:5. Indeed, each and every iteration of the VMG

reports reflect that “[b]ased on management representations, the Hospital will

contribute” a specified number of “outpatient imaging scans to the proposed

venture.” See Doc. 105-2 (Dep. Ex. 9); Ex. 12 (Dep. Ex. 81); Ex. 13 (Dep. Ex. 18);


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Ex. 14 (Dep. Ex. 156); and Doc. 357-31 (Dep. Ex. 35), all at p. 5. Ms. Lewis

confirmed that the numbers came from BDH. Doc. 362-18 (Lewis Dep. Tr.), p.

193:4-6. She professed ignorance about why VMG said that, “based on

management representations, the Hospital will contribute” that number of scans,

but did not recall ever correcting VMG on that point. Doc. 362-18 (Lewis Dep.

Tr.), p. 193:8-11.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to provide

pinpoint cites). Purported facts or inferences are immaterial. See T.W. Elec. Serv.,

809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      270. VMG testified that information about the purposes of a valuation

typically comes from the client and it has no reason to believe that the valuation for

BDH was no exception. Doc. 386-3 (VMG Dep. Tr.), pp. 132:24-133:5.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      271. The October 2004 draft of the VMG report states report “will be used

by Hospital management for planning purposes regarding the potential contribution

of the Imaging Business to the proposed venture.” Doc. 105-2 (Dep. Ex. 9), p. 5.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      272. The report also states: “Based on management representations, the

Hospital will contribute business operations including approximately 18,517

outpatient imaging scans to the proposed joint venture.” Doc. 105-2 (Dep. Ex. 9),

p. 5. The hospital COO, Liz Lewis, was primarily involved in this process, but was

extremely evasive about the concept of the hospital contributing imaging business

to the joint venture. For instance, when asked if the hospital tried to value the

number of scans it would contribute, she claimed to be befuddled because “there is

no ability for us to contribute.” Doc. 362-18 (Liz Lewis Dep. Tr.), p. 109:16-23.


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She did not know where VMG got the understanding that the hospital management

would use the report to plan regarding a contribution of patients to the joint

venture. Id., p. 172. But, she never corrected VMG’s statement to that effect

throughout the various iterations of the draft and final reports. Id., pp. 172-173.

While she tried to say that VMG’s statement was inaccurate, she refused to say

how it was inaccurate, even when asked multiple times. Id., pp. 173-178. Although

she said it was inaccurate, she said “I don’t think I know how to answer it, so….”

Id., p. 178:11-12. And, when asked specifically how one would contribute

diagnostic imaging services to a joint venture—as the VMG report says hospital

management intended to do, Ms. Lewis said it can’t happen because the hospital

does not own that business. Doc. 362-18 (Liz Lewis Dep. Tr.), p. 182:3-10. When

asked how a hospital could contribute diagnostic imaging services to the joint

venture—as the VMG report states—Ms. Lewis professed not to understand the

question. Lewis depo, pp. 182-183. When asked if there is any way a hospital

could contribute imaging business to a joint venture Ms. Lewis refused to give a

straight answer. Id., p. 183. After Relators’ counsel tried several more times to get

a straight answer (see Lewis depo, pp. 183- 185), the hospital’s lawyer instructed

Ms. Lewis to answer: “if you’d like.” Id., p. 185:25. Whereupon, Ms. Lewis

professed to not understand the question. Id., p. 186:1-3.




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      273. Specifically, the report notes that 6,381 CT scans will be contributed

to the joint venture, 1,920 MR scans, 5,647 mammography scans, 3,271, women’s

diagnostic scans, and 1,298 DEXA scans. Doc. 105-2 (Dep. Ex. 9), p. 16.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.




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      274. The report states that “[v]olume adjustments were made per

management representations.” Doc. 105-2 (Dep. Ex. 9), p. 16.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      275. VMG then calculated that AMI was worth between $2.5 and 2.7

million. Doc. 105-2 (Dep. Ex. 9), p. 4; Doc. 362-17 (Dep. Ex. 263), p. 4.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      276. BDH attorneys did not advise BDH to value patient exams Doc. 362-5

(BDH 30(b)(6) Dep. Tr.), p. 85:21-23.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.


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Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

V.    BDH requested payment for referrals sent to AMI and ICR’s attorney
      advises that is illegal.

      277. BDH then requested that ICR pay for patient exams that BDH

intended to contribute to the joint venture. Doc. 357-16 (Dep. Ex. 10); Doc. 357-17

(Dep. Ex. 11); Doc. 362-12 (Monaghan Dep. Tr.), pp. 108:15-110:33; 118:2-119:4.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to

provide pinpoint cites). Purported facts or inferences are immaterial. See T.W.

Elec. Serv., 809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      278. A January 2005, email from David Monaghan, the practice

administrator of ICR, to ICR’s attorney, Tom Greeson, states:



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             Thus, Intercity Radiology has to pay the hospital (not the joint
             venture) 22.5% of the discounted cash flow projections (some
             600k) to the hospital because they are essentially buying that
             share of the business from the hospital because the “patients are
             the hospitals.”… I was told in a serious tone this was a deal
             breaker.

Doc. 357-16 (Dep. Ex. 10).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to provide

pinpoint cites). Purported facts or inferences are immaterial. See T.W. Elec. Serv.,

809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      279. Similarly, another document from Dave Monaghan states: “Thus the

purpose of the valuation is not what I thought. Current estimate is about 700K for

the start-up and 600K for buying business (a check to BDH).” Doc. 357-17 (Dep.

Ex. 11).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.



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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to provide

pinpoint cites). Purported facts or inferences are immaterial. See T.W. Elec. Serv.,

809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      280. A PowerPoint slide produced by Dave Monaghan in discovery states

that “[t]he thought is that the business is already the hospital’s and that we are

buying a portion of that business.” Ex. 30, p. 1(Dep. Ex. 376).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      281. BDH meeting minutes confirm that BDH requested payment from

ICR, referring to the 2004 VMG valuation and stating that “the hospital would pay

itself 77.5% of the value and the radiologist[s] would pay the hospital 22.5%.”

Doc. 297-10 (Dep. Ex. 312).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.


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Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      282. Those meeting minutes also state “[t]he 22% was reported to the

board as projected ‘income’ on the cash flow analysis in December.” Doc. 297-10

(Dep. Ex. 312).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      283. BDH no longer has that cash flow statement. Doc. 362-5 (BDH

30(b)(6) Dep. Tr.), pp. 134:14-135:22.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).


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Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      284. BDH does not deny requesting payment of $600,000. Instead, Liz

Lewis, the 30(b)(6) designee, testified that “I can’t find any documentation from

the hospital that specifically requested from the radiologists $600,000.” Doc. 362-5

(BDH 30(b)(6) Dep. Tr.), pp. 129:24- 130:10.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      285. Tom Greeson, ICR’s attorney, is former counsel for the American

College of Radiology and specializes in advising radiologists. Doc. 362-13

(Greeson Dep. Tr.), p. 12:20-14:7.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).


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Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      286. Greeson communicated with BDH’s attorney regarding the request for

payment. Doc. 362-13 (Greeson Dep. Tr.) pp. 120-121; Ex. 6 (Dep. Ex. 28).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      287. Greeson was concerned because paying for a stream of revenue,

which would be money generated by patient referrals, has serious implications

under the Anti-Kickback Statute. Doc. 362-13 (Greeson Dep. Tr.), pp. 122:16-

123:4, 138:7-21.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d




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631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

        288. Greeson communicated his concerns about the Anti-Kickback Statute

to counsel for BDH. Doc. 362-13 (Greeson Dep. Tr.), pp. 139:1-7; Ex. 6 (Dep. Ex.

28).

        RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

        289. ICR understood that Greeson advised that BDH’s request for payment

was illegal. Doc. 105-6 (Dep. Ex. 14, p. 3: “Our attorney believes that purchasing

the revenue stream is illegal”); Doc. 362-12 (Monaghan Dep. Tr.), 128:6-13.

        RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d




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631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      290. Specifically, Greeson advised that the proposed contribution violated

the Anti-Kickback Statute (“AKS”). Doc. 362-12 (Monaghan Dep. Tr.), 128:6-13.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      291. Greeson wrote a nine-page memo to address the fraud and abuse

issues that arose from the proposed joint venture. Doc. 198-2 (Dep. Ex. 15); Doc.

362-13 (Greeson Dep. Tr.), pp.163: 9-19, 164:4-18.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.


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P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to

provide pinpoint cites). Purported facts or inferences are immaterial. See T.W.

Elec. Serv., 809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      292. Greeson advised that anytime a person or entity enters a transaction

where one party is in a position to benefit from referrals, there is always a question

as to whether a portion of the amount paid could be attributed to referrals. Doc.

362-13 (Greeson Dep. Tr.), p. 168:8-13.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      293. Greeson advised that payment of remuneration by AMI or ICR, either

directly or indirectly to BDH, could be characterized as illegal payment of

remuneration to BDH in exchange for referrals, including dividends or

distributions. Doc. 362-13 (Greeson Dep. Tr.), p. 168:14-21.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      294. That memo referred to letter written from the OIG to TJ Sullivan,

which pointed out that in the context of the purchase of a physician practice, any

payment for the ongoing treatment of patients could be considered payment for

referrals. Doc. 198-2 (Dep. Ex. 15); Ex. 31 (Dep. Ex. 80).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to

provide pinpoint cites). Purported facts or inferences are immaterial. See T.W.

Elec. Serv., 809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      295. Greeson advised that violations of the AKS are serious. Doc. 362-13

(Greeson Dep. Tr.), p. 173:12-22.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.


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Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      296. According Greeson’s memo, he was concerned ICR might proceed

with an unlawful transaction. Doc. 362-13 (Greeson Dep. Tr.), p. 175:5-18.

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      297. Mr. Greeson’s concerns were communicated to BDH. See e.g. Ex. 6

(Dep. Ex. 28); Ex. 32 (Dep. Ex. 378); Doc. 362-12 (Monaghan Dep. Tr.), p.

128:14-19.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.


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Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      298. BDH meeting minutes from May of 2005 state that “The attorney for

the radiologists expressed concern that using the income approach would result in

issues of ‘fraud and abuse’ for the radiologists.” Doc. 297-10 (Dep. Ex. 312).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      299. The hospital did not need Greeson to tell it that it is illegal to ask for

payment for referrals. Liz Lewis understood, ever since 1993, that paying for

referrals is a violation of the AKS. Doc. 362-18 (Lewis Dep. Tr.), p. 110:9-23. Ms.

Lewis has been an officer of BDH at all times since 1993. Id., p. 111.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

VI.    Monaghan was the main contact person.

       300. Dave Monaghan was the practice administrator of ICR between 2004

and mid-2006. Doc. 362-12 (Monaghan Dep. Tr.), p. 23:10-24.

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

       301. One of his primary duties was to work with the hospital to form AMI.

Doc. 362-12 (Monaghan Dep. Tr.), p. 24:11-17.

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

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Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      302. His main contact at the hospital was Liz Lewis. Doc. 362-12

(Monaghan Dep. Tr.), p. 25:7-9.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      303. Liz Lewis was the main negotiator for BDH. Doc. 362-12 (Monaghan

Dep. Tr.), pp. 119:24-120:7; Doc. 362-5 (BDH 30(b)(6) Dep. Tr.), pp. 9:9-11:17;

Doc. 362-9 (Nordwick Dep. Tr.), p. 97:1-8.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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      304. Lewis is also the supervisor of operations in the radiology department.

Ex. 33 (Majerus Dep. Tr.), pp. 22:18-19.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      305. Lewis has also been one of the two BDH representatives of the AMI

operating committee during its existence. Doc. 362-22 (AMI 30(b)(6) Dep. Tr.),

pp. 26:20-23.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      306. The other representative is Gordon Davidson. Doc. 362-22 (AMI

30(b)(6) Dep. Tr.), pp. 26:20-23.




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      307. During the formation of AMI, Monaghan had frequent

communications with Tom Greeson related to the formation of AMI. Doc. 362-12

(Monaghan Dep. Tr.), p. 26:1-5

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      308. Monaghan had numerous communications with Greeson without

Frank Rembert. Ex. 32 (Dep. Ex. 378).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      309. Frank Rembert was not privy to many of the conversations involving

the negotiations of the formation of AMI. See Doc. 293-4 (Rembert Dep. Tr.), pp.

135 (Rembert has no idea of certain communications because “Monahan handled

kind of the communications between the hospital and us….”); 139-141 (Monahan

and Lewis “presented” the side agreement and represented it was “fine”). In fact,

Dr. Rembert explained:

             The agreements that I signed and that I saw were
             completely generated by Dave Monahan and Liz Lewis. I
             didn't -- I didn't – I didn't write or negotiate any of the
             terms or any of the language in any of those agreements.

Id., p. 229:13-17; see also id, p. 230:19-25 (he relied on Monaghan and Lewis);

232:21-22 (same). Dr. Rembert understood from “Monaghan and Liz [Lewis] who

were negotiating this stuff” that the arrangement complied with the law, but “It’s

clear to me now that wasn’t the case, and I screwed up.” Id., p. 233:18-23.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

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Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      310. Monaghan had numerous communications and other documents

related to Greeson in his possession, including a memo dated May 16, 2005,

regarding “legal compliance issues” that have been withheld based on an assertion

of privilege. Doc. 190-9 (Dep. Ex. 45).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      311. Courtney Funk replaced Dave Monaghan as the practice administrator

of ICR and director of AMI in 2006. Doc. 362-19 (Funk Dep. Tr.), p. 22:11-21.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

VII. BDH and ICR negotiated a “side agreement” regarding patient
     referrals – the intent of which was to ensure that all outpatient volume
     did not shift to the imaging center.

      312. After ICR refused to pay BDH directly for referrals, BDH and ICR

began to discuss restricting volume at AMI to preserve volume at the hospital and

arrive at a lower valuation. “At the same time the valuation was pending, we were

talking with the radiologists about restricting the number of CT scans to the center

in order to preserve hospital volume.” Doc. 297-10 (Dep. Ex. 312).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.




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      313. An email from Dave Monaghan to Tom Greeson reflects that Mr.

Monaghan had “a meeting with administration that took place shortly our

conference call this morning” and that “the hospital will submit our valuation

volume and cost revisions to VMG.” Doc. 198-3 (Dep. Ex. 16), p. 2.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      314. Greeson testified that he thinks “side agreement” was the terminology

that the parties were using. Doc. 362-13 (Greeson Dep. Tr.), p. 256:5-17.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      315. A draft of the Side Agreement dated February 22, 2005, states that

“[t]he parties have agreed on the following terms regarding the expected volumes


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for the OP Imaging Center” and specifically refers to 1920 MR studies and 1617

CT studies. Doc. 297-7 (Dep. Ex. 17).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      316. That amount was 1/3 of the outpatient imaging procedures. Ex. 34

(Dep. Ex. 313); Doc. 362-5 (BDH 30(b)(6) Dep. Tr.), pp. 153:7-154:3.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to provide

pinpoint cites). Purported facts or inferences are immaterial. See T.W. Elec. Serv.,

809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.


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      317. Those same numbers are reflected in a draft VMG reported prepared.

Ex. 12 (Dep. Ex. 81), p. 22.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      318. With only 1,617 CT patients being contributed to the joint venture the

projected value was approximately negative $1.1 million. Id. at 57; see also Ex. 13

(Dep. Ex. 18) (another version of the VMG report with revised CT numbers).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to




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provide pinpoint cites). Purported facts or inferences are immaterial. See T.W.

Elec. Serv., 809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      319. Throughout the spring of 2005, BDH and ICR continued to negotiate

regarding the number of exams that could be performed at AMI. Doc. 105-7 (Dep.

Ex.19); Doc. 105-8 (Dep. Ex. 24); Doc. 105-3 (Dep. Ex. 1).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to

provide pinpoint cites). Purported facts or inferences are immaterial. See T.W.

Elec. Serv., 809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      320. A March 2005 draft of the side agreement stated that the volume of

CT scans for the first three years is projected to be 12 per day. Doc. 105-7 (Dep.

Ex.19).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to

provide pinpoint cites). Purported facts or inferences are immaterial. See T.W.

Elec. Serv., 809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      321. BDH and ICR also negotiated other limitations on AMI’s ability to

operate. Specially, they negotiated when AMI would be able to purchase new

equipment and its hours of operation. Doc. 105-7 (Dep. Ex.19).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to

provide pinpoint cites). Purported facts or inferences are immaterial. See T.W.

Elec. Serv., 809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.




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      322. An April 2005 draft of the side agreement states that the number of

CT scans that will be performed in at AMI for the first two years will be 2500-

3000. Doc. 105-8 (Dep. Ex. 24).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to

provide pinpoint cites). Purported facts or inferences are immaterial. See T.W.

Elec. Serv., 809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      323. That version of the side agreement expressly states that “[t]he intent is

to ensure that all OP volume i[s] not shifted from the hospital to the OP center.”

Doc. 105-8 (Dep. Ex. 24).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d


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631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to

provide pinpoint cites). Purported facts or inferences are immaterial. See T.W.

Elec. Serv., 809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      324. Greeson testified that “The hospital’s concern was that it would not

lose all of its volume at the hospital. That was the hospital’s principal concern. The

hospital wanted to protect its inpatient and outpatient radiology department

operation.” Doc. 362-13 (Greeson Dep. Tr.), p. 73:7- 12.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      325. The provisions regarding hours and purchase of a new CT scanner

were removed from the final side agreement. Doc. 192-1 (Dep. Ex. 27). But, the

hospital was effectively given veto power over any such operational decision by its

dominance of the AMI Operating Committee. See Doc. 357-10 (Dep. Ex. 41), p.4,

¶ 1.36 (Operating Committee is AMI’s “governing body”); and p. 40 (Ex. H to




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Dep. Ex. 41) (Operating Committee consists of BDH’s Lewis and Nordwick as

two of the three members).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences rely on inadmissible evidence. See Fed. R. Civ. P. 56(c)(2). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      326. Greeson did not want to have any valuation or any contribution made

based on volumes or any agreement between BDH and ICR based on volumes.

Doc. 362-13 (Greeson Dep. Tr.), pp. 237:5-13.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).


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Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      327. An email from Monaghan from April of 2005 states:

             Tom has raised significant concerns about the valuation
             and is going to be circling back to us with a
             recommendation, which at a minimum will likely involve
             pushing back to TJ about how this agreement to limit the
             schedule in exchange for a lower valuation reflects his
             point about buying referrals.

Doc. 190-16 (Dep. Ex. 59), p. 1 (emphasis added).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      328. Greeson advised that a side agreement on volume would be directly

contrary to the Anti-Kickback statute. An email from Greeson dated May 4, 2005,

regarding draft language contained in the Side Agreement stated:

             I am concerned with this suggested language. Frankly,
             I’m hoping we can eliminate the need to discuss volumes
             in any manner. We feel strongly that the valuation should
             not be changed if any volume assumptions later turns
             about to be incorrect. If the valuation changes, then the
             contributions are no longer based on value unrelated to
             referrals but on referrals and the resulting revenue

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             stream which is directly contrary to the antikickback
             statute.

Doc. 190-17 (Dep. Ex. 30), p. 1 (emphasis added).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      329. Greeson advised against entering into any side agreement. Doc. 362-

13 (Greeson Dep. Tr.), p. 239:11-15.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      330. Monaghan confirmed that he understood negotiating a lower volume

for referrals to AMI in exchange for a cheaper buy-in violated the AKS. Doc. 362-

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12 (Monaghan Dep. Tr.), p. 133:4–17 (conceding that a negotiated limit on volume

is “slam dunk illegal”).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      331. Greeson testified that he does not know whether they ignored his

advice. Doc. 362-13 (Greeson Dep. Tr.), pp. 246:6-249:3.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      332. He does not know when they signed the Side Agreement. Doc. 362-13

(Greeson Dep. Tr.), pp. 246:6-249:3.


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         RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

         333. There is no evidence that BDH’s attorney knew or approved of final

side agreement. Doc. 362-16 (Sullivan Dep. Tr.), pp. 31:15-32:13.

         RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

         334. BDH and asserted privilege over its communications with counsel.

See generally Doc. 362-16 (Sullivan Dep. Tr.); Doc. 362-5 (BDH 30(b)(6) Dep.

Tr.).




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

VIII. BDH and ICR went forward with the Side Agreement.

      335. BDH and ICR agreed to a limit on volume in spite of Greeson’s

advice to the contrary. Doc. 105-3 (Dep. Ex. 1); 192-1 (Dep. Ex. 27), Dep. Ex.

357-25 (Dep. Ex. 31); Doc. 357-32 (Dep. Ex. 71); Doc. 357-33 (Dep. Ex. 72); 105-

18 (Dep. Ex. 73); Doc. 357-44 (Dep. Ex. 233); Ex. 9 (Dep. Ex. 278); Doc. 293-4

(Rembert Dep. Tr.), p. 118:5-21.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences rely on inadmissible evidence. See Fed. R. Civ. P. 56(c)(2). Cited


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evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      336. Meeting minutes prepared by Monaghan on May 24, 2005, weeks

after Greeson advised against an agreed limit on volume, state:




Doc. 357-25 (Dep. Ex. 31).

The meeting minutes also state the parties continued to discuss a limit on MR

scans that could occur at AMI. Doc. 357-25 (Dep. Ex. 31).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or




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inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      337. BDH’s own meeting minutes from the same day (May 24, 2005)

confirm the agreement to limit volume. Doc. 297-10 (Dep. Ex. 312, “We agreed to

expect an average of 17 CT scans per day for the center.”)

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      338. Those seventeen “expected” CT scans per day come from the final,

signed Side Agreement (Doc. 105-3 (Dep. Ex. 1)) (12 CT patients/ day times an

average 1.4 scans per patient equals 16.8 scans/day).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      339. The language from Side Agreement was specifically incorporated into

the May 2005 final VMG valuation which formed the basis for contributions to the

joint venture. Doc. 160-8 (Dep. Ex. 34); Doc. 357-31 (Dep. Ex. 35).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      340. The May 18, 2005 valuation was based on the limit in the Side

Agreement. Doc. 160-8 (Dep. Ex. 34); Doc. 357-31 (Dep. Ex. 35).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.


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Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to

provide pinpoint cites). Purported facts or inferences are immaterial. See T.W.

Elec. Serv., 809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      341. The valuation calculated the fair market value range of AMI to be

$700,000 to $730,000. Doc. Doc. 357-31 (Dep. Ex. 35), p. 4; Doc. 234-2 (Lange

Report), pp. 7-8.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      342. The final valuation states “the valuation assumes the number of CT

scans performed in the contributed Imaging business at approximately 1.4 scans

per patient, assuming 12 patients per day.” Doc. 357-31 (Dep. Ex. 35) compare Ex.

14 (Dep. Ex. 156).


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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      343. It also states that “Should the volume projection assumptions change

for any reason, the value indicated could be materially affected.” Doc. 357-31

(Dep. Ex. 35) (emphasis in original).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      344. The final valuation calculated the value of AMI based on the income

approach to be $702,479 within the fair market value range using the cost

approach. Doc. 357-31 (Dep. Ex. 35), p. 4 & A-9 (Bozeman_0094412).


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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      345. Relator Rembert testified that: “it was an agreement for a volume of

patients that would be sent from the hospital to AMI on a daily basis.” Doc. 293-4

(Rembert Dep. Tr.) p. 118:5-21.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      346. Relator Rembert believed it was an agreement on volume. Id.




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      347. Relator Rembert thought when he signed the agreement that they were

being held to those numbers. Doc. 293-4 (Rembert Dep. Tr.), pp. 136:14-137:13.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.




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      348. When he signed the Side Agreement, Relator Rembert believed that

was the maximum number of CT scans that AMI would be allowed to perform.

Doc. 293-4 (Rembert Dep. Tr.), pp. 139:1-14 & 250:20-252:18.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      349. He did not believe it was illegal because Monaghan and Lewis

represented that the letter was fine. Doc. 293-4 (Rembert Dep. Tr.) pp. 141:16-

142:8, 233:12-23.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d




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631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      350. Further, Monaghan’s email, which states that the BDH and ICR are

close to finalizing the deal, has joint venture pro forma attached which refers to a

limit on CT and MR volume at AMI. Doc. 105-9 (Dep. Ex. 33), p. 5; compare to

Doc. 105-10 (Dep. Ex. 75), p. 4.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      351. Monaghan and Lewis negotiated and drafted the agreements given to

Rembert to sign, representing to him that they had complied with advice from Tom

Greeson and BDH’s attorney T.J. Sullivan. Doc. 293-4 (Rembert Dep. Tr.), pp.

229:6–230:25.




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      352. Rembert believed everything to be legal having relied on Monaghan

and Lewis because “under no circumstances would I think that she [Lewis] would

lead us astray in any way.” Doc. 293-4 (Rembert Dep. Tr.), pp. 230:19-25.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      353. However, Greeson did not believe that the Side Agreement was part

of the final deal. Doc. 362-13 (Greeson Dep. Tr.), pp. 259:12-261.


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       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

       354. Greeson testified that he did not remember seeing a signed copy of the

Side Agreement prior to his deposition. Doc. 362-13 (Greeson Dep. Tr.), p. 238:7-

17.

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not support purported fact or inferences. See Fed. R. Civ. P.

56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

       355. If it had received it, it would have likely been in his file. Doc. 362-13

(Greeson Dep. Tr.), pp. 238:18-239:2.


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       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

       356. It was not in his email with the final agreements. Doc. 362-13

(Greeson Dep. Tr.), pp. 261:5-262:7; Ex. 35 (Dep. Ex. 61)

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

IX.    The Side Agreement was signed at the same time as the Operating
       Agreement.

       357. BDH and ICR were still negotiating over the letter in June of 2005.

Ex. 4 (Dep. Ex. 297); Doc. 283-3 (Reisman Supp. Report), p. 8 (Entry for

RELATORS 00017555 shows it was sent June 17, 2005).

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

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Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      358. The language from the draft side agreement contained in the email to

Tom Greeson on May 4, 2005 was different than signed version, suggesting it was

revised and signed after that date. Compare Doc. 105-3 (Dep. Ex. 1) & Doc. 190-

17 (Dep. Ex. 30).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      359. Indeed, a version of the Side Agreement produced in electronic format

by Dave Monaghan shows it was edited June 14, 2005. Doc. 235-1, p. 15 (entry for

MON378-379).


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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      360. An email from Liz Lewis dated June 10, 2005, is entitled “Valuation

Agreement Letter” and was sent in advance of a meeting with the radiologists on

June 14, 2005. Ex. 15 (Dep. Ex. 21).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      361. The email had a spreadsheet attached with comments from Lewis on

various agreements related to the joint venture. Ex. 15 (Dep. Ex. 21).


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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      362. Subsequent versions of that same spreadsheet were modified in mid to

late June, according to metadata. Doc. 304-1 (Dep. Ex. 298); Doc. 336-2 (Dep. Ex.

299) & Doc. 336-3 (Dep. Ex. 300). Doc. 283-3 (Reisman Supp. Report), p. 8

(entries for MON0000445-447, MON0000456-457 and MON0000458-460

showing a “date created” as June 7, 2005 and “last modified” between June 14 and

June 22).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.




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P. 56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      363. An email dated June 17, 2018, from Monaghan to Lewis states:

             Attached are the agreed to language changes of our
             discussion this week. I will try and meet with Gordon
             early next week so by mid-next week we can finalize and
             sign all of the agreements together.


Ex. 4 (Dep. Ex. 297).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      364. The spreadsheet attached to the email Monaghan sent to Lewis

contains comments on various agreements concerning the joint venture, such as the

operating agreement, employment agreement, and the “Agreement Letter.” Ex. 4

(Dep. Ex. 297), p. 4.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.


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Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      365. Another version of that spreadsheet, created in June 2005, states: “We

need to discuss the capabilities of the single slice CT and the issue of the agreed

volume split.” Doc. 336-3 (Dep. Ex. 300); see also Doc. 304-1 (Dep. Ex. 298); and

Doc. 336-2 (Dep. Ex. 299).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Cited evidence does not comply with LR 56.1(b)(2)(B) (failure to provide

pinpoint cites). Purported facts or inferences are immaterial. See T.W. Elec. Serv.,

809 F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      366. None of the individuals who signed the Side Agreement could

confirm BDH’s current litigation position that it was signed before the Operating

Agreement. Doc. 362-2 (Rex Spear ICR 30(b)(6) Dep. Tr.), pp. 28; Doc. 362-9


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(Nordwick Dep. Tr.), p. 206; Doc. 362-5 (BDH 30(b)(6) Dep. Tr.), p. 38; Doc.

293-4 (Rembert Dep. Tr.), p. 144:3-9.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

X.    VMG 2009

      367. AMI hired VMG to conduct another valuation in 2009. Doc. 386-3

(VMG Dep. Tr.), p. 14:6-9.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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      368. Aaron Murski, an employee of VMG who worked on the 2009

valuation and was VMG’s 30(b)(6) designee, testified that Courtney Funk first

contacted VMG regarding the valuation. Doc. 386-3 (VMG Dep. Tr.), p. 45:15-20.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      369. Courtney Funk provided documents to VMG related to the 2009

valuation. Doc. 386-3 (VMG Dep. Tr.), p. 19:20-20:8; Ex. 36 (Dep. Ex. 357).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      370. AMI provided a copy of the Side Agreement to VMG. Id.; Doc. 357-

42 (Dep. Ex. 232).




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      371. It was included as an enclosure on a letter from Courtney Funk to

VMG. Doc. 386-3 (VMG Dep. Tr.), p. 68:11-17.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      372. The 2009 VMG file contained an electronic copy of handwritten

notes. Doc. 357-44 (Dep. Ex. 233); Doc. 386-3 (VMG Dep. Tr.), pp. 49:25- 50:25.




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      373. It was a regular practice for VMG to take notes and put them in the

file. Doc. 386-3 (VMG Dep. Tr.), p. 76:11-15.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      374. It was VMG’s regular business practice to scan and retain the

handwritten notes as part of its business. Doc. 386-3 (VMG Dep. Tr.), p. 51:3-19.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      375. Aaron Murski testified that in 2009 VMG communicated with

Courtney Funk and Doreen Stoppel. Doc. 386-3 (VMG Dep. Tr.), p. 61:17- 19.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      376. Aaron Murski does not remember conversations with anyone other

than Courtney Funk during the site visit. Doc. 386-3 (VMG Dep. Tr.), p. 84:21-24.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not support purported fact or inferences. See Fed. R. Civ. P.

56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or




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inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      377. VMG does not have any information to suggest that it had any

communications with Relators. Doc. 386-3 (VMG Dep. Tr.), p. 63:8-21.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      378. Aaron Murski sent a draft valuation to Courtney Funk on May 12,

2009. Doc. 386-3 (VMG Dep. Tr.), p. 89:9-21; Ex. 38 (Dep. Ex. 366); Ex. 37

(Dep. Ex. 367).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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      379. Courtney Funk emailed Aaron Murski on May 13, 2009, about setting

up a conference call to discuss the valuation. Doc. 386-3 (VMG Dep. Tr.), p.

105:2-7; Ex. 39 (Dep. Ex. 237); Ex. 40 (Dep. Ex. 368).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      380. Aaron Murski had a conference call with Funk on May 15, 2009. Doc.

386-3 (VMG Dep. Tr.), p. 121:15-24; Ex. 41 (Dep. Ex. 304).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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      381. Aaron Murski is not aware of any other particular conference call with

Courtney Funk or anyone else from AMI that is reflected in the file. Doc. 386-3

(VMG Dep. Tr.), pp. 107:17-108:1.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      382. Aaron Murski took the following handwritten notes:




(For clarity, those notes reflect, in part: “Patient volume capped for first few years

[at] 12.6 CT [and] 7.0 MR.” And, it continues: “Cap still on – manage

volume/hours/scheduling.”). Doc. 357-44 (Dep. Ex. 233); 386-3 (VMG Dep. Tr.),

p. 108:13-14.




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      383. Those notes were also taken during the regular course of VMG’s

business, for the purpose of carrying out business operations, and it was the

ordinary practice of VMG to take and keep such notes. Doc. 386-3 (VMG Dep.

Tr.), p. 112:5-13.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      384. When Aaron Murski takes notes, it is his practice to try to accurately

reflect what is being told to him. Doc. 386-3 (VMG Dep. Tr.), 119:14-17.


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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      385. The notes reflect information that someone from AMI told him. Doc.

386-3 (VMG Dep. Tr.), pp. 113:15-114:16.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences rely on inadmissible evidence. See Fed. R. Civ. P. 56(c)(2). Purported

facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille,

2018 WL 3029053, at *2.




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      386. The information related to the cap on volume reflects information that

someone from AMI told Murski about AMI in 2009. Doc. 386-3 (VMG Dep. Tr.),

p. 116 :4-17.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences rely on inadmissible evidence. See Fed. R. Civ. P. 56(c)(2). Purported

facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille,

2018 WL 3029053, at *2.

      387. Aaron Murski testified that he did not have a specific recollection that

the notes came from a conversation with Courtney Funk, but he did testify that he

does not have a specific recollection of communications with anyone other than

Courtney Funk. Doc. 386-3 (VMG Dep. Tr.), p. 117 :7-15.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      388. VMG prepared a revised draft valuation on May 29, 2009, following

the conference call with Courtney Funk. Doc. 105-16 (Dep. Ex. 222).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      389. The revised draft contained new language about reimbursement risks.

Doc. 386-3 (VMG Dep. Tr.), pp. 124:23-125:6.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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      390. Aaron Murski does not have any explanation for the change in the

language between the two drafts other than he must have received new information

between May 12 and May 29. Doc. 386-3 (VMG Dep. Tr.), pp. 124:23-125:6.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      391. A September 2012 email from Courtney Funk stated that, years earlier

(referring to the 2009 effort), ICR “tried to argue with VMG about the points that

we felt lowered the value of the radiologists’ ownership – minority cont[r]ol, lack

of ability to sell shares to anyone but hospital, capped volume, etc.”). Doc. 357-45

(Dep. Ex. 234).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.


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XI.      ICR told Mike there was a limit.

         392. Relator Paradise interviewed with ICR in late 2006 and received an

offer of employment. Doc. 353-5 (Paradise Dep. Tr.), pp. 51:1- 18; Ex. 8 (Dep. Ex.

277).

         RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

         393. Around the same time, he also received an offer of employment from

a practice in Iowa. Doc. 353-5 (Paradise Dep. Tr.), p. 51:1-18.

         RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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      394. Following his interview with ICR, Relator Paradise created a

document comparing his two offers. Doc. 353-5 (Paradise Dep. Tr.), p. 51:1-18;

Ex. 8 (Dep. Ex. 277).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      395. Metadata shows that document created January 2007. Doc. 283-3

(Reisman Supp. Report), p. 3 (entry for RELATORS 00035022, showing “date last

modified” as Jan. 9, 2007).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      396. The notes state “When would the hospital stop limiting the schedule at

the imaging centers?” Ex. 8 (Dep. Ex. 277).


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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      397. Relator Paradise was told during his interview the hospital was

limiting the number of studies at the imaging center for the first few years. Doc.

353-5 (Paradise Dep. Tr.), pp. 63:1-65:13.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      398. Relator Paradise also made handwritten notes around the time of his

interview. Ex. 9 (Dep. Ex. 278); Doc. 353-5 (Paradise Dep. Tr.), pp. 76:16- 77:11.




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      399. The notes reflect that Relator Paradise asked about the hospital

limiting studies at the imaging center and was told the limit should be lifted after

by 2007. Ex. 9 (Dep. Ex. 278); Doc. 353-5 (Paradise Dep. Tr.), pp. 83:16-84:18.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      400. Relator Paradise testified that limitations at AMI were, in fact, in

place until he was terminated. Doc. 353-5 (Paradise Dep. Tr.), p. 192:18- 23.




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      401. The limitations in place involved the schedule, the number of scans

actually performed, the equipment, the hours that AMI was allowed to operate, and

the staffing. Doc. 353-5 (Paradise Dep. Tr.), pp. 193:1-7; 195:21-196:5.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      402. The extent of the arrangement between BDH and ICR regarding

referrals was concealed from Paradise. Ex. 43 (Declaration of Mike Paradise).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.


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Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      403. Relator Paradise did not know there was a written agreement to limit

volume at AMI between BDH and ICR until the Side Agreement was produced by

the hospital in state court litigation Doc. 353-5 (Paradise Dep. Tr.), pp. 172:18-

173:25.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      404. BDH provided a copy of the side agreement in state court litigation in

2014 in response to a discovery request for agreements between BDH and ICR

regarding AMI. Ex. 10 (Dep. Ex. 307).




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      405. Relator Paradise had not seen the following documents until

approximately 2015, (a) the 2004 VMG report; (b) Monaghan’s email to Greeson

(Doc. 357-16 (Dep. Ex. 10)); (c) Monaghan’s PowerPoint slide. (Doc. 105-6 (Dep.

Ex. 14)); (d) Greeson Memo (Doc. 198-2 (Dep. Ex. 15)); (e) drafts of the side

agreement (Doc. 297-7 (Dep. Ex. 17)); Ex. 42 (Dep. Ex. 20); Doc. 297-8 (Dep. Ex.

24); (f) other correspondence with Greeson regarding formation of the joint

venture (see e.g. Doc. 190-17 (Dep. Ex. 30)). (g) ICR meeting minutes related to

formation of the joint venture Ex. 357-25 (Dep. Ex. 31). Ex. 43 (Declaration of

Mike Paradise).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).


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Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ.

P. 56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      406. Lindy Paradise, Relators Paradise’ wife, also a radiologist, who joined

ICR after the formation of AMI – had never seen the side agreement to limit

volume. Ex. 44 (L. Paradise Depo), p. 76:13-20.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

XII. AMI’s operations and budget were linked to the Side Agreement.

      407. ICR meeting minutes from June of 2006, a year after BDH and ICR

entered the Operating Agreement, state that ICR “reviewed the letter of agreement

dated 5/4/05 and discussed scheduling/volume assumptions.” Doc. 357-32 (Dep.

Ex. 71).




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not support purported fact or inferences. See Fed. R. Civ. P.

56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      408. The reference to the letter agreement dated 5/4/05 means the Side

Agreement. Doc. 362-19 (Courtney Funk Dep. Tr.), pp. 133:23- 134:17.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      409. The Side Agreement was discussed at a meeting of the AMI operating

committee: “Current Letter of Agreement based on the valuation allows for 370

CT scans/month” and “CT volumes should achieve target of 370/month if patient


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demand is there.” Doc. 357-33 (Dep. Ex. 72), p. 2; Doc. 362-19 (Courtney Funk

Dep. Tr.), pp. 150:3-51:13.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      410. At an AMI operating committee meeting in June 2006, when

discussing the side agreement and how many scans AMI was allowed to do, the

committee members discussed BDH budget targets. Ex. 33 (Majerus Dep. Tr.), pp.

52:4-54:9; Doc. 357-33 (Dep. Ex. 72), p. 2.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.


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      411. ICR minutes from July of 2006 state:

             Discussion was held concerning the Valuation
             Agreement performa and performance to date. While
             there has been some debate about volume expectations,
             BDH clearly refers to the Valuation Agreement for
             approved targets and budget expectations.

Doc. 357-34 (Dep. Ex. 73).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      412. An email from Courtney Funk in July of 2006 linked the “budget” at

AMI to the Side Agreement.

             Lastly, the “budget” that is being used in the financial
             statements is not an approved budget from a volume and
             revenue perspective. It was based on volume numbers
             that are in conflict with the valuation agreement.

Doc. 357-35 (Dep. Ex. 158).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

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Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      413. A June 2006 email from Courtney Funk states that “Clearly, the

‘valuation agreement budget’ should be the target for stats” and included an

attachment with a column entitled “Valuation Agreement Budget” which has the

numbers from the final 2005 VMG report. Doc. 357-36 (Dep. Ex. 190); Ex. 52

(Dep. Ex. 191).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      414. In 2007, BDH and ICR continued to discuss the volume of scans that

could occur at AMI. An email from Courtney Funk to Liz Lewis states “Don and I

met last week to discuss several items that impact his budget. Some of the items

are a little sensitive and need to be dealt with by the radiologists, you, Gordon. The

more we talked, the longer the list became. We thought that a meeting with you,

Gordon, Don, me, Jay and Rex might be helpful to have a candid discussion about


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staffing, equipment, cost sharing, philosophy, hours of operation, volume, etc.” Ex.

19 (Dep. Ex. 162); Ex. 45 (Dep. Ex. 200).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      415. ICR meeting minutes from September 2007 state “Jay, Rex and

Courtney will request a meeting with Gordon and Liz to review numerous issues

and undercurrents that surround AMI and Radiology planning and budgeting. We

need to seek resolution on volume questions, expanded hours at AMI, staffing

concerns, equipment in use at AMI, etc.” Ex. 22 (Dep. Ex. 242).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).




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Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      416. Liz Lewis sought to limit participation in meetings discussing volume.

Ex. 46 (Dep. Ex. 241); Ex. 47 (Dep. Ex. 120).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

XIII. Scheduling.

      417. AMI meeting minutes from October of 2006 state: “Scheduling still

performed by radiology department and patients are directed to available

appointment times. AMI is still limited in abilities to direct referrals to AMI.” Ex.

48 (Dep. Ex. 163).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited


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evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      418. BDH and AMI compete for the same patients. “Competition for

volume with BDH hospital department or Belgrade (dilution of volume”). Ex. 50

(Dep. Ex. 231); see also 2009 VMG report Doc. 105-16 (Dep. Ex. 222), p. 6 (“the

Hospital competes with AMI for MRI and CT services.”).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      419. Most outpatient exams can occur at either BDH or AMI. Ex. 16 (Dep.

Ex. 99).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited


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evidence does not support purported fact or inferences. See Fed. R. Civ. P.

56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

XIV. Most outpatient CT exams can occur at either BDH or AMI. Ex. 16
     (Dep. Ex. 99).

      420. Schedulers split patients between BDH and AMI. Ex. 51 (Dep. Ex.

103) (Goals and Objectives; a. Scheduling volume/expense: 50% AMI).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      421. All of the schedulers are employees of BDH. Doc. 362-12 (Monaghan

Dep. Tr.), pp. 140:24–141:11; Doc. 362-22 (AMI 30(b)(6) Dep. Tr.), p. 223:15-17;

Doc. 362-19 (Funk Dep. Tr.), p. 66:1-10.



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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      422. There are two phone numbers that reach radiology scheduling. Doc.

362-21 (Calkins Dep. Tr.), p. 30:1-5.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      423. One is an AMI number and one is a BDH number. Doc. 362-21

(Calkins Dep. Tr.), p. 30:6-8.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).


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Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      424. The number for AMI scheduling in the phone book, and other AMI

advertisements, rings through to the telephones located at the scheduling desk in

the BDH radiology department. See e.g. Ex. 49 (Dep. Exs. 349-351); Ex. 53 (Dep.

Ex. 205).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      425. Schedulers cannot tell what number has been dialed when they take a

call. Doc. 362-21 (Calkins Dep. Tr.), p. 30:9-14.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.


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      426. Schedulers can set appointment at either BDH or AMI. Doc. 362-21

(Calkins Dep. Tr.), pp. 25:14-19.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      427. All things being equal, appointments are scheduled at the first

available location. Doc. 362-21 (Calkins Dep. Tr.), p. 96:10-14.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      428. BDH could manipulate volume at BDH and AMI by controlling

scheduling. A email from Majerus to “Mid-March I ask to have day slots at BDH

filled before evening AMI so we recovered some volume.” Ex. 54 (Dep. Ex. 199).




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      429. Referring physicians do not typically direct patient to one location or

another. Ex. 33 (Majerus Dep. Tr.), pp. 93:12-95:22.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      430. In the majority of cases, they just refer the patient to the scheduling

department. Ex. 33 (Majerus Dep. Tr.), pp. 93:12-95:22.




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      431. Patients were scheduled for exams at either BDH or AMI before the

scheduling department received an order. Ex. 55 (Dep. Ex. 143); Doc. 388-1

(Swanson Dep. Tr.), pp. 161:25-162:12.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      432. The order form for radiology services did not specify a location for

exams. Doc. 388-1 (Swanson Dep. Tr.), pp. 40:19-21.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.


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Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      433. The order form specifically stated: “As the ordering physician, I

understand that, subject to patient choice, the patient will be scheduled to receive

services at either Advanced Medical Imaging or Bozeman Deaconess Hospital

depending on factors such [as] scheduling needs, availability of necessary

equipment and personnel or clinical care reasons.” Ex. 56 (Dep. Ex. 94).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      434. If a patient had a location preference, it would be reflected in the

scheduling notes. Calkins Dep. Tr. 29:6-11.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      435. Often the patience’s preference was for the first available location. Id.

29:15-20.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      436. BDH had the ability to “funnel” patients to one location or another for

a variety of reasons. Ex. 58 (Dep. Ex. 90).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or


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inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      437. Patients can be switched between BDH and AMI even after they have

been scheduled. Ex. 59 (Dep. Ex. 93).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      438. AMI could have had its own, dedicated schedulers. Ex. 60, Bozeman

0100309); Ex. 61 (Dep. Ex. 256).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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      439. The radiologists would have preferred that AMI had its own

schedulers, but BDH wanted to maintain control over AMI operations. Ex. 60,

Bozeman 0100309).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      440. The BDH radiology department does not schedule outpatient CT

exams at the cancer center, which has a 40 slice CT scanner and is a department of

BDH. Ex. 33 (Majerus Dep. Tr.), pp. 20:15-24.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).




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Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

XV. ICR’s attorney did not know how BDH directed referrals to AMI.

      441. Tom Greeson testified that he did not know any details of the system

for scheduling patients at AMI. Doc. 362-13 (Greeson Dep. Tr.), pp. 50:14-51:2 (“I

don’t know. I don’t know the details of it at all”); 62:12-63:15.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      442. The scheduling of patients by BDH employees is a relevant fact when

analyzing whether the structure of AMI complied with the Anti- Kickback Statute.

Doc. 362-13 (Greeson Dep. Tr.), pp.134:12-135:1.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d


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631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      443. BDH was in a position to direct referrals to AMI. Doc. 362-13

(Greeson Dep. Tr.), pp. 166:15-19, 167.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      444. BDH was in a position to benefit from referrals to AMI. Doc. 362-13

(Greeson Dep. Tr.), p. 168.1-7.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      445. Greeson testified that he does not know whether he knew that AMI

would be located on the hospital campus back in 2005. Id. at 57:20- 58:8, 59:4-11.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      446. Greeson is former counsel for American College of Radiology,

specializes in clients who provide diagnostic radiology services, has advised clients

on similar issues in all 50 states and District of Columbia, but is not aware of a

similar situation, where a hospital schedules patients at its own joint venture. Id. at

12-13, 79-87.




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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not support purported fact or inferences. See Fed. R. Civ. P.

56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

XVI. BDH controlled scheduling at AMI to control volume.

      447. BDH manipulated the scheduling template and scheduling protocol to

implement the agreement to limit CT scans. Doc. 357-37 (Dep. Ex. 119); Ex. 18

(Dep. Ex. 157); Ex. 20 (Dep. Ex. 320); Ex. 21 (Dep. Ex. 321).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Cited evidence does not

comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites). Purported facts or


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inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      448. 17 CT scans per day is the amount agreed upon by BDH and ICR

pursuant to the Side Agreement (12 patients a day at 1.4 scans per patient – unless

the hospital scanner is full than AMI can do more). Doc. 105-3 (Dep. Ex. 1); Ex.

357-25 (Dep. Ex. 31; Doc. 297-10 (Dep. Ex. 312).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences rely on inadmissible evidence. See Fed. R. Civ. P. 56(c)(2). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      449. An April 2007 email from Courtney Funk to Liz Lewis notes that

AMI needs to able to schedule 15-18 patients per day to meet its budget of 17 CT

scans per day; Doc. 357-37 (Dep. Ex. 119).


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      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      450. Meeting minutes from the next meeting of the AMI Operating

Committee in May 2007 state that: “Liz, Don, and Courtney ha[ve] been working

on a new template to simplify the process of centralized scheduling. AMI CT will

be scheduled for 15-18 patients per day (average 15) and add-ons will be primarily

based on the hospital scanner.”). Ex. 18 (Dep. Ex. 157).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      451. Joel O’Brien, the CT supervisor at BDH and AMI, developed

scheduling protocols to implement the agreement to limit AMI to CT 12 patients a

day, unless BDH scanner is full, then AMI can do more.


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See Ex. 21 (Dep. Ex. 321); Ex. 20 (Dep. Ex. 320); see also Ex. 47 (Dep. Ex. 120).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.


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XVII. BDH tracked referrals to AMI and monitored the allocation of patients.

      452. BDH tracked referrals to AMI. Ex. 61 (Dep. Ex. 167); 453.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      453.




                           Doc. 390-3 (Dep. Ex. 171), p. 6 § 1.8.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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         454. BDH and AMI monitored volumes to ensure the appropriate

distribution of patients between them. Doc. 357-39 (Dep. Ex. 244) (March 20,

2008 ICR meeting minutes stating “In general, our OP scheduling guidelines are

working to ensure a fair distribution of patients between hospital and AMI”).

         RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Cited evidence does not

comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites). Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

         455. BDH was frequently very busy while AMI was slow. Ex. 64 (Dep. Ex.

239).

         RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).


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Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Cited evidence does not

comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites). Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

XVIII.       Staffing.

      456. CT technologists employed by BDH performed shifts at both BDH

and AMI. Ex. 63 (O’Brien Dep. Tr.), pp. 56:7-57:6.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      457. MR technologists employed by BDH performed shifts at both BDH

and AMI. Ex. 63 (O’Brien Dep. Tr.), pp. 56:7-57:6.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      458. More staffing allows for scans to be completed more quickly. Ex. 33

(Majerus Dep. Tr.), pp. 67:1-16.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      459. BDH controlled AMI’s ability to fully staff AMI. Ex. 64 (Dep. Ex.

239), p. 3 (“On a weekday basis 1 technologist provides dedicated CT coverage

from 7:00 am to 3:30 pm. CT technology provides for such rapid scanning of

patients that throughput and department flow are limited not by technology, but by

patient care-preparation, positioning, and technologist availability. Benchmark

staffing in an outpatient environment provides for 2-3 technologists per scanner to

allow for the most efficient use of expensive technology.”).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.


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Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

XIX. Hours of operation are a means to volume

      460. BDH limited the hours at AMI for CT scans. Doc. 353-5 (Paradise

Dep. Tr.), pp. 208:5-210:17.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      461. By limiting AMI’s hours of operation, BDH was able to limit volume.

“AMI budget approved with limited expansion of hours, but Hospital reiterated




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that all OP business cannot go to AMI without harming hospital”); Doc. 357-38

(Dep. Ex. 164), p. 1.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      462. BDH monitored how AMI’s hours of operation affected volume at

BDH. A May 2008 email from Majerus to Lewis said: “There has been a change in

out patient volumes since the evening shift in AMI. The attached spreadsheet is a

comparison of out patient exams only. Let me know what you think.” Ex. 62 (Dep.

Ex. 201), p. 1.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d




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631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

XX. AMIs ability to purchase new equipment linked also affected volume

      463. Relator Paradise testified that BDH’s control over AMI’s ability to

purchase a new CT scanner limited volume. Doc. 353-5 (Paradise Dep. Tr.), pp.

195:15-196:5.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      464. In 2008, AMI needed a new CT scanner because the technology was

outdated, there were increasing service issues (downtime), it was unable to accredit

due to quality issues; and its schedule was self-limiting. Ex. 65 (Dep. Ex. 212), p.1.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).


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Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      465. BDH also needed a new scanner and the proposals were considered

together. Ex. 65 (Dep. Ex. 212), p.1.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      466. BDH purchased a new CT scanner for the hospital. Ex. 65 (Dep. Ex.

212). Doc. 362-19 (Funk Dep. Tr.), pp. 256:22-257:20.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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      467. BDH delayed allowing AMI to purchase a new, quality scanner for

AMI because of concern that a new CT scanner would cut into hospital volume.

Doc. 357-40 (Dep. Ex. 210) (December 2008 email from Don Majerus, stating: “I

have met with Courtney, then Courtney and Jay. They are very determined to get a

new CT. The question I asked and I think is critical is: Is there an expectation that

with the new scanner they would increase volume?”).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      468. AMI had to use an old, unaccredited CT scanner until 2011, when it

became absolutely unavoidable to purchase a new CT scanner in order to receive

payment from Medicare. Ex.66 (Dep. Ex. 248).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).


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Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      469. Proformas regarding the purchase of a new CT scanner reveal the

limit on volume. Doc. 357-41 (Dep. Ex. 249), p. 4 (“In 2010, combined CT volume

will have increased 37% while AMI’s volume has actually declined 2% from 2006.

If AMI volume had risen in accordance with overall volume, AMI would be

performing over 5400 exams per year.”).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      470. BDH and ICR discussed the volume of CT scans that AMI would be

permitted to perform with a new scanner. ICR meeting minutes from September of

2010 state that: “The radiologists understand that an additional 2-3 patients per day


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would actually be necessary to offset the increased annual costs. Liz maintains that

the hospital is reluctant to allow any more volume to shift to AMI.” Doc. 105-22

(Dep. Ex. 179), p. 1.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      471. BDH also prevented AMI from operating to its full potential for MR.

Ex. 67 (Dep. Ex. 124), p. 2.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or




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inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      472. An MR room at AMI went unused from 2009 to 2015. Ex. 63

(O’Brien Dep. Tr.), 195:11-18.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

XXI. BDH controls pricing and contracting at AMI.

      473. BDH and AMI charge the same amount for outpatient MR and CT

exams. Ex. 33 (Majerus Dep. Tr.), pp. 55:11-57:13.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not support purported fact or inferences. See Fed. R. Civ. P.

56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or




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inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

         474. If they charged different amounts, patients would seek out lower

charges. Ex. 33 (Majerus Dep. Tr.), pp. 57:15-17.

         RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

         475. BDH informs AMI what the price of scans will be. Ex. 68 (Dep. Ex.

252).

         RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.




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      476. AMI adjusts its price to stay in “alignment” with BDH. For example,

a February 2007 email from Courtney Funk states: “BDH Radiology had to put in

a fee increase for 2007 so we needed to do the same at AMI to ensure that we were

in ‘alignment.’” Ex. 68 (Dep. Ex. 252).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      477. AMI cannot lower its price to respond to the market. For example, a

September 2014 email from Courtney Funk states “Our fees are set by the hospital

but so we have little ability to respond to the market.” Ex. 69 (Dep. Ex. 255), p.1.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d




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631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

      478. BDH controls AMI’s ability to contract with insurance companies.

Doc. 357-44 (Dep. Ex. 233); Doc. 297-12 (Dep. Ex. 251), p. 1 (“so it[’]s important

to us that while we might have separate contracts, the amounts would be very

similar for patients having a test in the hospital or at our imaging center.”).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences rely on inadmissible evidence. See Fed. R. Civ. P. 56(c)(2). Cited

evidence does not comply with LR 56.1(b)(2)(B) (failure to provide pinpoint cites).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      479. For example, a November 2011 email from Courtney Funk states

“Our contracts with Allegiance were identical so that patients were not

disadvantaged by having services at either the hospital or imaging center…We


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direct where patients receive their CT and MRI services, all scheduling is

performed from a central location within the hospital radiology department. So a

difference in co-pays, etc., is problematic and represents an ethical problem with

where we schedule patients.” Ex. 60 (Dep. Ex. 256), p.1.

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at

630-31; Guille, 2018 WL 3029053, at *2.

XXII. Cindy Carter

       480. Ms. Carter, a physician assistant employed by BDH, was placed at

AMI as a patient care navigator. Doc. 362-22 (AMI 30(b)(6) Dep. Tr.), p. 17:12-

14.

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not support purported fact or inferences. See Fed. R. Civ. P.


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56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

         481. AMI does not charge for her services, which involve performing

procedures and describing treatment options to cancer patients (primarily breast

cancer patients). Doc. 362-22 (AMI 30(b)(6) Dep. Tr.), pp. 233:23- 234:3; 244:25-

245:5.

         RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

         482. Her salary and other expenses are paid by AMI. Doc. 362-22 (AMI

30(b)(6) Dep. Tr.), p.244:9-24

         RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.


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Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

       483. But, the radiologists are not her supervising physicians. Doc. 362-22

(AMI 30(b)(6) Dep. Tr.), p. 227:2-10.

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

       484. Her supervising physician is an oncologist employed by BDH who

works the in BDH cancer center. Doc. 362-22 (AMI 30(b)(6) Dep. Tr.), p. 227:2-

10.

       RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not support purported fact or inferences. See Fed. R. Civ. P.


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56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      485. Ms. Carter is stationed at AMI to provide breast care navigation

services. Doc. 362-22 (AMI 30(b)(6) Dep. Tr.), p. 226:20-24.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      486. The treatment options Ms. Carter discusses with patients involves

services they can obtain at BDH. Doc. 362-22 (AMI 30(b)(6) Dep. Tr.), pp.

245:25-247:14.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.


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      487. An email from one of radiologists dated September 15, 2009 states: “I

am still dubious regards to any medicare fraud/kickback issues regarding the fact

that we pay Cindy’s salary for the benefit of the Cancer Center. It has ALWAYS

been my feeling that her salary and her expenses (office rental, powerscribe,

licensure fee, health benefits, etc) should be paid out of the cancer center budget

NOT the AMI budget!” Ex. 23 (Dep. Ex. 227), p. 1.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences rely on inadmissible evidence. See Fed. R. Civ. P.

56(c)(2). Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809

F.2d at 630-31; Guille, 2018 WL 3029053, at *2.

      488. Ms. Carter’s services were paid for by AMI, even though her services

benefitted BDH. Her services are further evidence the Defendants violated the

AKS. See Doc. 105 (First Amend. Complaint), pp. 45-46, ¶ 146.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).


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Purported facts rely on unreasonable inferences. See T.W. Elec. Serv., 809 F.2d

631. Cited evidence does not support purported fact or inferences. See Fed. R. Civ.

P. 56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences rely on inadmissible evidence. See Fed. R. Civ. P. 56(c)(2). Purported

facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille,

2018 WL 3029053, at *2.

XXIII.       Participation in Medicare.

      489. AMI understood that in order to receive payment from Medicare, they

need to submit a claim form. Doc. 362-22 (AMI 30(b)(6) Dep. Tr.), pp. 250:3-7.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

      490. AMI must comply with AKS in order to receive payment. Doc. 362-

22 (AMI 30(b)(6) Dep. Tr.), pp. 251:4-8.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018). Cited

evidence does not support purported fact or inferences. See Fed. R. Civ. P.

56(c)(1), (e); see also T.W. Elec. Serv., 809 F.2d at 630. Purported facts or

inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-31; Guille, 2018

WL 3029053, at *2.

      491. AMI intended for the government to rely on its representations that it

had complied with the AKS. Doc. 362-22 (AMI 30(b)(6) Dep. Tr.), p. 251:9-14.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

XXIV.        Government Intervention

      492. On August 26, 2016 The United States filed a notice stating that it was

not intervening at that time, further indicating that the Government’s investigation

would continue. Doc. 48.

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.


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CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.

XXV. Prior Litigation

      493. In Rembert, Paradise and Bozeman Radiology, PLLC v. Bozeman

Deaconess Health Services, Cause No. DV-13-57C (Montana Eighteenth Judicial

District Court), the Complaint was filed on Jan. 25, 2013. However, BDH was not

served until the following summer, Aug. 1, 2014. Ex. 71 (Complaint) & Ex. 72

(Summons).

      RESPONSE: Purported facts or inferences do not create a genuine dispute

of material fact. See Fed. R. Civ. P. 56(c)(1); T.W. Elec. Serv., Inc. v. Pac. Elec.

Contractors Ass’n, 809 F.2d 626, 630-31 (9th Cir. 1987); Guille v. Sweeney, No.

CV1400051HDLCJTJ, 2018 WL 3029053, at *2 (D. Mont. June 18, 2018).

Purported facts or inferences are immaterial. See T.W. Elec. Serv., 809 F.2d at 630-

31; Guille, 2018 WL 3029053, at *2.




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Dated this 27th day of July, 2018.


                                        /s/ Ian McIntosh
                                        /s/ David F. Taylor

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                        CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was served
upon the following counsel of record by the means designated below this 27th day
of July, 2018.

 U.S. Mail                Robert K. Baldwin
 FedEx                    J. Devlan Geddes
 Hand-Delivery            Benjamin J. Alke
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